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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                                Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL et
al.,1                                                             (Jointly Administered)

                                     Debtors.                     Objections Due: January 13, 2020 at 4:00 p.m. ET
                                                                  Hearing Date: January 23, 2020 at 10:00 a.m. ET




          FIRST QUARTERLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
          FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
             AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
            THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR
           THE PERIOD FROM JULY 15, 2019 THROUGH SEPTEMBER 30, 2019

Name of applicant:                                                       Sills Cummis & Gross P.C.
                                                                         The Official Committee of Unsecured
Name of client:
                                                                         Creditors
Time period covered by this application:                                 July 15, 2019 – September 30, 2019

Total compensation sought this period:                                   $590,812.502

Total expenses sought this period:                                       $6,587.94

Petition date:                                                           June 30, 2019
                                                                         September 5, 2019 nunc pro tunc to July
Retention date:
                                                                         15, 2019



1
  The Debtors in these cases are: Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St.
Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC
Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric Anesthesia
Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III
of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C.
2
  Sills’s fees at its standard hourly rates actually total $627,287. However, as noted in the Application to Retain and
Employ Sills Cummis & Gross P.C. as Attorneys for the Official Committee of Unsecured Creditors of Center City
Healthcare, LLC d/b/a Hahnemann University Hospital, et al., Nunc Pro Tunc to July 15, 2019 [D.I. 636] (the
“Retention Application”), “Sills fees (not including expenses) will be limited to the lesser of (i) the amount of Sills’s
fees at its professionals’ standard rates . . . and (ii) the amount of Sills’s fees at a blended hourly rate of $625.” See
Retention Application ¶ 16. After application of the blended rate discount, Sills’s fees have been reduced to
$590,812.50.


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Name of applicant:                                             Sills Cummis & Gross P.C.

Date of order approving employment:                            September 5, 2019

Blended rate in this application for all attorneys:            $625.00

Blended rate in this application for all timekeepers:          $625.00
Fees sought in this application already paid
pursuant to a monthly compensation order but not               $0.00
yet allowed:
Expenses sought in this application already paid
pursuant to a monthly compensation order but not yet           $0.00
allowed:
Number of professionals included in this application:          7
If applicable, number of professionals in this
application not included in staffing plan approved by          N/A
client:
                                                               Sills was not asked to prepare a budget in
                                                               connection with these cases. Sills notes,
If applicable, difference between fees budgeted and
                                                               however, that its fees exceeded the
compensation sought for this period:
                                                               amount provided in the DIP budget due to
                                                               the exigencies presented in these cases.
Number of professionals billing fewer than 15 hours to
                                                               0
the case during this period:
Are any rates higher than those approved or disclosed at
retention? If yes, calculate and disclose the total
                                                               No
compensation sought in this application using the rates
originally disclosed in the retention application

This is a:     ____ monthly       __x__ interim ___ final application.


          Summary of Monthly Fee Applications for the Interim Compensation Period

  Date         Period Covered          Requested           Requested       Approved          Approved
  Filed                                  Fees              Expenses        Fees (80%)        Expenses
                                                                                              (100%)
11/21/19      7/15/19 – 7/31/19       $245,625.00          $1,131.06       $196,500.00       $1,131.06
11/27/19       8/1/19 – 8/31/19       $195,875.00          $5,141.05       $156,700.00       $5,141.05
11/27/19       9/1/19 – 9/30/19       $149,312.50           $315.83        $119,450.00        $315.83




                                                      2
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                                COMPENSATION BY PROFESSIONAL

    Name of Professional              Position, primary                 Hourly          Total          Total
        Individual                  department or group,                Billing         Hours       Compensation
                                      year of obtaining                  Rate           Billed
                                      relevant license to
                                    practice, if applicable
    Andrew H. Sherman            Member, Bankruptcy                       $795          187.0           $148,665.00
                                 First Bar Admission: 1991
    Boris Mankovetskiy           Member, Bankruptcy                       $725          298.2           $216,195.00
                                 First Bar Admission: 2001
                                 Member, Bankruptcy
    S. Jason Teele                                                        $695           66.4            $46,148.00
                                 First Bar Admission: 2001
    Lucas F. Hammonds            Of Counsel, Bankruptcy                   $575          107.4            $61,755.00
                                 First Bar Admission: 2008
                                 Of Counsel, Corporate
    Marc D. Leve                                                          $550           17.3              $9,515.00
                                 First Bar Admission: 1984
    Rachel E. Brennan            Associate, Bankruptcy                    $545          189.2           $103,114.00
                                 First Bar Admission: 2012
    Gregory A. Kopacz            Associate, Bankruptcy                    $525           79.8            $41,895.00
                                 First Bar Admission: 2010
    Total Fees at                                                                       945.3           $627,287.00
    Standard Rates
    Total Fees After
    Application of $625                                                                 945.3           $590,812.50
    Blended Rate
    Discount3




3
 As noted in the Retention Application, Sills agreed to discount its rates such that its blended hourly rate will be
capped at $625. See Retention Application ¶ 16.
                                                           3
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                            COMPENSATION BY PROJECT CATEGORY

                           Project Category                                    Total Hours             Total Fees
    Asset Disposition (102)                                                              354.3           $245,457.50
    Business Operations (103)                                                             11.3              $7,654.50
    Case Administration (104)                                                            105.1             $66,035.50
    Claims Administration and Objections (105)                                            15.7             $11,350.50
    Employee Benefits/Pensions (106)                                                      28.5             $17,872.50
    Fee/Employment Applications (107)                                                     40.7             $24,366.50
    Fee/Employment Objections (108)                                                       15.7              $9,305.50
    Financing (109)                                                                      300.6           $196,978.50
    Litigation (Other than Avoidance Action Litigation) (110)                             36.7             $20,550.50
    Relief from Stay Proceedings (114)                                                    23.0             $16,944.00
    Travel (116) (Billed at 50%)                                                          13.7             $10,771.50
    Total Fees at Standard Rates                                                         945.3           $627,287.00

    Total Fees After Application of $625 Blended Rate                                    945.3           $590,812.50
    Discount4

                                             EXPENSE SUMMARY

                                 Expense Category                      Total Expenses
                          Copying5                                                       $1.80
                          LEXIS/Pacer                                                $536.53
                          Local travel (taxi/train)                                $2,355.47
                          Local travel (lodging)                                   $1,773.82
                          Meals (travel)                                             $374.97
                          Telephone                                                    $16.15
                          Deposition Transcripts                                   $1,529.20
                          TOTAL                                                    $6,587.94


4
  As noted in its Retention Application, Sills agreed to discount its rates such that its blended hourly rate will be
capped at $625. See Retention Application ¶ 16.
5
  In accordance with Rule 2016-2 of the Local Rules for the United States Bankruptcy Court for the District of
Delaware, Sills charged $.10 per page for copies during the compensation period.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                     Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL et
al.,                                                   (Jointly Administered)

                                Debtors.               Objections Due: January 13, 2020 at 4:00 p.m. ET
                                                       Hearing Date: January 23, 2020 at 10:00 a.m. ET




          FIRST QUARTERLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
          FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
             AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
            THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR
           THE PERIOD FROM JULY 15, 2019 THROUGH SEPTEMBER 30, 2019

          Pursuant to sections 330 and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

the Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses

for Professionals [D.I. 341] (the “Compensation Order”), Sills Cummis & Gross P.C. (“Sills”),

submits its First Quarterly Application for Allowance of Compensation for Services Rendered

and for Reimbursement of Expenses as Counsel to the Official Committee of Unsecured

Creditors, for the Period from July 15, 2019 through September 30, 2019 (the “Application”).

By the Application, Sills seeks interim allowance of compensation in the amount of $590,812.50

and actual and necessary expenses in the amount of $6,587.94, for a total allowance of

$597,400.44, and payment of the unpaid amount of such fees and expenses for the period from

July 15, 2019 through September 30, 2019 (the “Interim Period”), and states as follows:

                                            Background

          1.     On June 30 and July 1, 2019, each of the Debtors filed a voluntary petition for


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relief under chapter 11 of the Bankruptcy Code.

          2.     On July 15, 2019, the United States Trustee appointed the Official Committee of

Unsecured Creditors (the “Committee”) [D.I. 182].

          3.     Sills was retained as Committee counsel pursuant to this Court’s Amended Order

Authorizing the Employment and Retention of Sills Cummis & Gross P.C. as Attorneys for

Official Committee of Unsecured Creditors of Center City Healthcare, LLC d/b/a Hahnemann

University Hospital, et al. Nunc Pro Tunc to July 15, 2019 [D.I. 650].

                            Monthly Fee Applications Covered Herein

          4.     Sills’s monthly fee applications for the period from July 15, 2019 through

September 30, 2019 have been filed and served pursuant to the Compensation Order.

          5.     On November 21, 2019, Sills filed its first monthly application for the period

from July 15, 2019 through July 31, 2019 [D.I. 1050] (the “First Monthly Fee Application”)

requesting $245,625.00 in fees and $1,131.06 in expenses. On December 12, 2019, a

certification of no objection was filed regarding the First Monthly Fee Application [D.I. 1152].

A copy of the First Monthly Fee Application is attached as Exhibit E.

          6.     On November 27, 2019, Sills filed its second monthly application for the period

from August 1, 2019 through August 31, 2019 [D.I. 1069] (the “Second Monthly Fee

Application”) requesting $195,875.00 in fees and $5,141.05 in expenses. On December 18,

2019, a certification of no objection was filed regarding the Second Monthly Fee Application

[D.I. 1204]. A copy of the Second Monthly Fee Application is attached as Exhibit F.

          7.     On November 27, 2019, Sills filed its third monthly application for the period

from September 1, 2019 through September 30, 2019 [D.I. 1070] (the “Third Monthly Fee

Application”) requesting $149,312.50 in fees and $315.83 in expenses. On December 18, 2019,


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a certification of no objection was filed regarding the Third Monthly Fee Application [D.I.

1202]. A copy of the Third Monthly Fee Application is attached as Exhibit G.

                                      Statement from Sills

               8.      Pursuant to the Appendix B Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases, Sills responds to the following questions regarding the Application:

Question                                                 Yes   No     Additional Explanation
                                                                      or Clarification
Did you agree to any variations from, or alternatives    Yes          As noted in the Retention
to, your standard or customary billing rates, fees or                 Application, Sills agreed
terms for services pertaining to this engagement that                 to discount its rates such
were provided during the application period? If so,                   that its blended hourly rate
please explain.                                                       will be capped at $625.
If the fees sought in this fee application as compared   Yes          Sills was not asked to
to the fees budgeted for the time period covered by                   prepare a budget in
this fee application are higher by 10% or more, did                   connection with these
you discuss the reasons for the variation with the                    cases. Sills notes,
client?                                                               however, that its fees
                                                                      exceeded the amount
                                                                      provided in the DIP
                                                                      budget due to the
                                                                      exigencies presented in
                                                                      these cases. Sills
                                                                      discussed the reasons for
                                                                      the variation with its
                                                                      client.
Have any of the professionals included in this fee             No
application varied their hourly rate based on the
geographic location of the bankruptcy case?
Does the fee application include time or fees related          No
to reviewing or revising time records or preparing,
reviewing, or revising invoices?
Does this fee application include time or fees for             No
reviewing time records to redact any privileged or
other confidential information? If so, please quantify
by hours and fees.
If the fee application includes any rate increases             N/A    There were no rate
since retention in these Cases:                                       increases during the
     i.     Did your client review and approve those                  Interim Period.
            rate increases in advance?

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Question                                                      Yes   No      Additional Explanation
                                                                            or Clarification
    ii.         Did your client agree when retaining the
                law firm to accept all future rate
                increases? If not, did you inform your
                client that they need not agree to
                modified rates or terms in order to have
                you continue the representation,
                consistent with ABA Formal Ethics
                Opinion 11-458?

                                            Requested Relief

          9.       By this Application, Sills requests that the Court approve payment of one-hundred

percent (100%) of the fees and expenses incurred by Sills during the Interim Period.

          10.      All services for which Sills requests compensation were performed for or on

behalf of the Committee.

          11.      Sills received no payment and no promises for payment from any source other

than the Debtors for services rendered or to be rendered in any capacity in connection with the

matters covered by this Application. There is no agreement or understanding between Sills and

any other person other than the members of Sills for the sharing of compensation to be received

for services rendered in these cases. Sills did not receive a retainer in these cases.

          12.      The professional services and related expenses for which Sills requests interim

allowance were rendered and incurred in the discharge of Sills’s professional responsibilities as

attorneys for the Committee. Sills’s services have been necessary and beneficial to the

Committee, the Debtors’ estates, creditors and other parties in interest.

          13.      In accordance with the factors enumerated in Bankruptcy Code section 330, it is

respectfully submitted that the amount requested by Sills is fair and reasonable given (a) the



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complexity of the cases, (b) the time expended, (c) the nature and extent of the services rendered,

(d) the value of such services, and (e) the costs of comparable services other than in a case under

the Bankruptcy Code. Moreover, Sills has reviewed the requirements of Del. Bankr. LR 2016-2

and believes that this Application substantially complies therewith.

          WHEREFORE, Sills respectfully requests that the Court enter an order providing that an

interim allowance be made to Sills for the Interim Period in the sum $590,812.50 in fees and

actual and necessary expenses in the amount of $6,587.94, for a total of $597,400.44; that the

Debtors be authorized and directed to pay to Sills the outstanding amount of such sums; and for

such additional relief as is appropriate.

Dated: December 24, 2019                      Respectfully submitted,
Wilmington, Delaware
                                              /s/ Thomas M. Horan
                                              Thomas M. Horan (DE Bar No. 4641)
                                              FOX ROTHSCHILD LLP
                                              919 North Market Street, Suite 300
                                              Wilmington, DE 19899
                                              Telephone: 302-654-7444
                                              Facsimile: 302-6568920
                                              Email: thoran@foxrothschild.com

                                              - and -

                                              Andrew H. Sherman (pro hac vice)
                                              Boris I. Mankovetskiy (pro hac vice)
                                              SILLS CUMMIS & GROSS P.C.
                                              One Riverfront Plaza
                                              Newark, NJ 07102
                                              Telephone: 973-643-7000
                                              Facsimile: 973-643-6500
                                              Email: asherman@sillscummis.com
                                                      bmankovetskiy@sillscummis.com

                                              Counsel for the Official Committee
                                              of Unsecured Creditors


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                                       DECLARATION

STATE OF NEW JERSEY             :
                                :
COUNTY OF ESSEX                 :


              Andrew H Sherman, after being duly sworn according to law, deposes and says:

              a)      I am an attorney at law and a member of the applicant law firm Sills

Cummis & Gross P.C.

              b)      I am familiar with the legal services rendered by Sills Cummis & Gross

P.C. as counsel to the Committee.

              c)      I have reviewed the foregoing Application and the facts therein are true

and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Del. Bankr. LR 2016-2 and submit that the Application substantially complies therewith.


                                                    /s/ Andrew H. Sherman
                                                    Andrew H. Sherman




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                                                  EXHIBIT A
                   CUSTOMARY AND COMPARABLE COMPENSATION
                       DISCLOSURES WITH FEE APPLICATIONS



     Category of Timekeeper                                         Blended Hourly Rate

                                          Billed Firm-wide for FY2018                       Billed This Case
                                            (Excluding Restructuring                        (July 15, 2019 –
                                                    Matters) 1                            September 30, 2019)
         Senior Member                               $676.43                                     $745.12
          Junior Member                              $511.77                                       N/A
            Of Counsel                               $475.48                                     $571.53
         Senior Associate                            $366.90                                     $539.07
             Associate                               $352.53                                       N/A
         Junior Associate                            $303.88                                       N/A
            Aggregated                               $502.19                                     $663.59
       Blended Rate After                                                                        $625.00
       Application of $625
     Blended Rate Discount2




1
  The average rates were calculated by multiplying the total hours worked by each attorney and the agreed billing
rate for the applicable client. The average rate is the total dollars billed divided by the total hours worked.
2
  As noted in its Retention Application, “Sills fees (not including expenses) will be limited to the lesser of (i) the
amount of Sills’s fees at its professionals’ standard rates . . . and (ii) the amount of Sills’s fees at a blended hourly
rate of $625.” See Retention Application ¶ 16.


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                                                                 EXHIBIT B

                              SUMMARY OF TIMEKEEPERS INCLUDED IN THIS FEE APPLICATION




                                                                                                                              NUMBER OF
                                                        DATE OF      FEES BILLED   HOURS BILLED      HOURLY RATE BILLED
                                                                                                                                 RATE
                                        DEPARTMENT,      FIRST
                        TITLE OR                                                                                              INCREASES
       NAME                              GROUP OR      ADMISSION                                                  IN FIRST
                        POSITION                                                                    IN THIS
                                          SECTION          (if          IN THIS       IN THIS                     INTERIM
                                                                                                  APPLICATION                 SINCE CASE
                                                       applicable)   APPLICATION   APPLICATION                  APPLICATION
                                                                                                                              INCEPTION
                         Member           Bankruptcy      1991       $148,665.00        187.0        $795          $795           0
 Andrew H. Sherman
  Boris Mankovetskiy     Member           Bankruptcy      2001       $216,195.00        298.2        $725          $725           0
     S. Jason Teele      Member           Bankruptcy      2001       $46,148.00         66.4         $695          $695           0
 Lucas F. Hammonds      Of Counsel        Bankruptcy      2008       $61,775.00         107.4        $575          $575           0
     Marc D. Leve       Of Counsel        Corporate       1984        $9,515.00         17.3         $550          $550           0
   Rachel E. Brennan    Associate         Bankruptcy      2012       $103,114.00        189.2        $545          $545           0
  Gregory A. Kopacz     Associate         Bankruptcy      2010       $41,895.00         79.8         $525          $525           0
    Grand Total at
                                                                     $627,287.00        945.3
    Standard Rates
   Grand Total After
 Application of $625                                                 $590,812.50        945.3
Blended Rate Discount




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                                                    EXHIBIT C-1

                                                       BUDGET

If the parties consent or the court so directs, a budget approved by the client in advance should
generally be attached to each interim and final fee application filed by the applicant. If the fees sought in
the fee application vary by more than 10% from the budget, the fee application should explain the
variance.1 See Guidelines ¶ C.8. for project category information.




1
    Sills has not been asked to prepare a formal budget.


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                                                                                     EXHIBIT C-2

                                                                                 STAFFING PLAN1
             If the parties consent or the court so directs, a staffing plan approved by the client in advance should generally be attached to
             each interim and final fee application filed by the applicant. If the fees are sought in the fee application for a greater number
             of professionals than identified in the staffing plan, the fee application should explain the variance.



                                                                     NUMBER OF TIMEKEEPERS EXPECTED TO
               CATEGORY OF TIMEKEEPER 1
                                                                      WORK ON THE MATTER DURING THE                              AVERAGE HOURLY RATE
        (using categories maintained by the firm)
                                                                              BUDGET PERIOD
    Member                                                                                3                                                     $745.12

    Of Counsel                                                                            2                                                     $571.53

    Sr. Associate                                                                         2                                                     $539.07
1
 As an alternative, firms can identify attorney timekeepers by years of experience rather than category of attorney timekeeper: 0-3, 4-7, 8-14, and 15+.
Non-attorney timekeepers, such as paralegals, should be identified by category.




         1
             Due to the timing of its preparation, the Staffing Plan for the period of time covered by the Application was prepared with the benefit of actual data.
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                                            EXHIBIT D-1

          SUMMARY OF COMPENSATION REQUESTED BY PROJECT CATEGORY

                                            HOURS                             HOURS        FEES
         PROJECT CATEGORY                                  FEES BUDGETED
                                           BUDGETED                           BILLED     SOUGHT
        Asset Disposition (102)                                                354.3    $245,457.50
      Business Operations (103)                                                11.3      $7,654.50
      Case Administration (104)                                                105.1    $66,035.50
 Claims Administration and Objections                                          15.7     $11,350.50
                (105)
  Employee Benefits/Pensions (106)                                             28.5     $17,872.50
  Fee/Employment Applications (107)                                            40.7     $24,366.50
  Fee/Employment Objections (108)                                              15.7      $9,305.50
              Financing (109)                                                  300.6    $196,978.50
Litigation (Other than Avoidance Action                                        36.7     $20,550.50
             Litigation) (110)
  Relief from Stay Proceedings (114)                                           23.0     $16,944.00
       Travel (116) (Billed at 50%)                                            13.7     $10,771.50
        Total at Standard Rates                                               945.3     $627,287.00
Total After Application of $625 Blended                                       945.3     $590,812.50
             Rate Discount




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                                 EXHIBIT E

                    FIRST MONTHLY FEE APPLICATION




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1
                                                               Objections Due: December 11, 2019 at 4:00 p.m. ET
                                    Debtors.

 NOTICE OF FIRST MONTHLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
 FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND FOR
REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL COMMITTEE
              OF UNSECURED CREDITORS FOR THE PERIOD
                  JULY 15, 2019 THROUGH JULY 31, 2019

         PLEASE TAKE NOTICE THAT on November 21, 2019, Sills Cummis & Gross P.C.

(“Sills”), as counsel to the Official Committee of Unsecured Creditors (the “Committee”) of the

above-captioned debtors and debtors-in-possession (the “Debtors”), filed the First Monthly Fee

Application of Sills Cummis & Gross P.C. for Allowance of Compensation for Services Rendered

and for Reimbursement of Expenses as Counsel to the Official Committee of Unsecured Creditors

for the Period July 15, 2019 through July 31, 2019 (the “Application”).

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered

August 2, 2019 [D.I. 341] (the “Interim Compensation Order”), objections, if any, to the

Application must be filed with the Clerk of the United States Bankruptcy Court for the District of



1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.
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Delaware, 824 North Market Street, Wilmington, DE 19801, and be served so as to be received by

the following parties by no later than December 11, 2019 at 4:00 p.m. (prevailing Eastern time),

(the “Objection Deadline”): (a) the Debtors, Center City Healthcare, LLC, 230 North Broad Street,

Philadelphia, PA 19102 (Attn: Allen Wilen, CRO); (b) Counsel to the Debtors, Saul Ewing

Arnstein & Lehr LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801 (Attn: Mark

Minuti, Esq. and Monique B. DiSabatino, Esq.) and 1500 Market Street, 38th Floor, Philadelphia,

PA 19102 (Attn: Jeffrey Hampton, Esq. and Adam H. Isenberg, Esq.); (c) Counsel to the

Committee, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza, Newark, NJ

07102 (Attn: Andrew H. Sherman, Esq. and Boris I. Mankovertskiy, Esq.) and Fox Rothschild

LLP, 919 N. Market Street, Suite 300, Wilmington, DE 19899-2323 (Attn: Thomas M. Horan);

(d) the Office of the United States Trustee, District of Delaware, 844 N. King Street, Suite 2207,

Lockbox 35, Wilmington, DE 19801 (Attn: Benjamin A. Hackman, Esq.); and (e) Counsel to the

DIP Agent, Stradley, Ronon, Stevens, & Young, LLP, 2005 Market Street, Suite 2600,

Philadelphia, PA 19103 (Attn: Gretchen M. Santamour, Esq.) and 1000 N. West Street, Suite 1279,

Wilmington, DE 19801 (Attn: Joelle E. Polesky, Esq.).

       PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Interim Compensation

Order, upon expiration of the Objection Deadline, if a Notice of Objection has not been served

with respect to the Application, Fox Rothschild may file a certificate of no objection (a “CNO”)

with the Court with respect to the unopposed portion of the fees and expenses requested in its

Monthly Fee Application. After a CNO is filed, the Debtors are authorized and directed to pay

Fox Rothschild an amount the “Actual Monthly Payment”) equal to 80 percent of the fees and

100 percent of the expenses requested in the applicable Monthly Fee Application (the

“Maximum Monthly Payment”). If a Notice of Objection was timely filed and received and



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remains unresolved, the Debtors are authorized and directed to pay Fox Rothschild an amount

(the “Reduced Monthly Payment”) equal or lessor of (i) the Maximum Monthly Payment and (ii)

80% of fees and 100% of the expenses not subject to a Notice of Objection.



  Dated: November 21, 2019                    FOX ROTHSCHILD LLP

                                              /s/ Thomas M. Horan
                                              Thomas M. Horan (DE No. 4641)
                                              919 North Market Street, Suite 300
                                              Wilmington, DE 19899-2323
                                              Telephone: (302) 654-7444
                                              Facsimile: (302) 656-8920
                                              E-mail: thoran@foxrothschild.com

                                              Counsel to the Official Committee of
                                              Unsecured Creditors




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                              Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL et
al.,1                                                           (Jointly Administered)

                          Debtors.                              Objections Due: December 11, 2019 at 4:00 p.m. ET
                                                                Hearing Date: TBD if objection filed




           FIRST MONTHLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
          FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
             AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
            THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
              THE PERIOD FROM JULY 15, 2019 THROUGH JULY 31, 2019

Name of Applicant:                                           Sills Cummis & Gross P.C.

Authorized to provide professional services to:              Official Committee of Unsecured Creditors

Date of Retention:                                           September 5, 2019 nunc pro tunc to July 15, 2019
Period for which compensation
and reimbursement are sought:                                July 15, 2019 – July 31, 2019
Amount of compensation sought as actual,
reasonable, and necessary:                                   $196,500.00 (80% of $245,625.00)
Amount of expense reimbursement sought
as actual, reasonable, and necessary:                        $1,131.06

This is a monthly application.




1
 The Debtors in these cases are: Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St.
Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC
Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric Anesthesia
Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III
of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C.


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                                  COMPENSATION BY PROFESSIONAL
                                 JULY 15, 2019 THROUGH JULY 31, 2019

    Name of Professional               Position, primary                   Hourly           Total          Total
        Individual                   department or group,                  Billing          Hours       Compensation
                                       year of obtaining                    Rate            Billed
                                       relevant license to
                                     practice, if applicable
    Andrew H. Sherman              Member, Bankruptcy                        $795            53.9             $42,850.50
                                   First Bar Admission: 1991
    Boris Mankovetskiy             Member, Bankruptcy                        $725            96.9             $70,252.50
                                   First Bar Admission: 2001
                                   Member, Bankruptcy First
    S. Jason Teele                                                           $695            63.1             $43,854.50
                                   Bar Admission: 2001
    Lucas F. Hammonds              Of Counsel, Bankruptcy                    $575            69.9             $40,192.50
                                   First Bar Admission: 2008
    Marc D. Leve                   Of Counsel, Corporate                     $550             1.1                 $605.00
                                   First Bar Admission: 1984
                                   Associate, Bankruptcy
    Rachel E. Brennan                                                        $545            67.8             $36,951.00
                                   First Bar Admission: 2012
    Gregory A. Kopacz              Associate, Bankruptcy                     $525            40.3             $21,157.50
                                   First Bar Admission: 2010
    Total Fees at                                                                           393.0           $255,863.50
    Standard Rates
    Total Fees After
    Application of $625                                                                     393.0           $245,625.00
    Blended Rate
    Discount2




2
 As noted in the Application to Retain and Employ Sills Cummis & Gross P.C. as Attorneys for the Official
Committee of Unsecured Creditors of Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.,
Nunc Pro Tunc to July 15, 2019 [D.I, 636] (the “Retention Application”), “Sills fees (not including expenses) will
be limited to the lesser of (i) the amount of Sills’s fees at its professionals’ standard rates . . . and (ii) the amount of
Sills’ fees at a blended hourly rate of $625.” See Retention Application ¶ 16.

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                            COMPENSATION BY PROJECT CATEGORY
                              JULY 15, 2019 THROUGH JULY 31, 2019

                           Project Category                                     Total Hours              Total Fees
    Asset Disposition (102)                                                               108.7             $71,767.50
    Business Operations (103)                                                               10.6              $7,147.00
    Case Administration (104)                                                               76.5            $49,001.50
    Claims Administration and Objections (105)                                               4.1              $3,000.50
    Employee Benefits/Pensions (106)                                                         2.1              $1,669.50
    Fee/Employment Applications (107)                                                       17.3            $10,557.50
    Fee/Employment Objections (108)                                                          0.9                $715.50
    Financing (109)                                                                       169.3            $109,306.00
    Relief from Stay Proceedings                                                             1.4              $1,029.00
    Travel (116) (Billed at 50%)                                                             2.1              $1,669.50
    Total Fees at Standard Rate                                                           393.0            $255,863.50

    Total Fees After Application of $625 Blended Rate                                     393.0            $245,625.00
    Discount3


                                        EXPENSE SUMMARY
                                JULY 15, 2019 THROUGH JULY 31, 2019

                                 Expense Category                       Total Expenses
                          Telephone                                                       $9.80
                          Local Travel (Train, Taxi)                                $1,097.24
                          Meals (travel)                                                $24.02
                          TOTAL                                                     $1,131.06




3
 As noted in its Retention Application, “Sills fees (not including expenses) will be limited to the lesser of (i) the
amount of Sills’s fees at its professionals’ standard rates . . . and (ii) the amount of Sills’ fees at a blended hourly
rate of $625.” See Retention Application ¶ 16.

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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                             Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL et
al.,1                                                          (Jointly Administered)

                          Debtors.                             Objections Due: December 11, 2019 at 4:00 p.m. ET
                                                               Hearing Date: TBD if objection filed




    FIRST APPLICATION OF SILLS CUMMIS & GROSS P.C. FOR ALLOWANCE OF
    COMPENSATION FOR SERVICES RENDERED AND FOR REIMBURSEMENT OF
     EXPENSES AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS FOR THE PERIOD FROM JULY 15, 2019 THROUGH JULY 31, 2019

                 Pursuant to sections 330 and 331 of title 11 of the United States Code (the

“Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), and the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals [D.I. 341] (the “Compensation Order”), Sills Cummis & Gross P.C. (“Sills”) files

this First Application for Allowance of Compensation for Services Rendered and for

Reimbursement of Expenses as Counsel to the Official Committee of Unsecured Creditors for the

Period From July 15, 2019 Through July 31, 2019 (the “Application”). By the Application, Sills

seeks allowance of $196,500.00 (80% of $245,625.00) in fees for services rendered and

$1,131.06 for reimbursement of actual and necessary expenses, for a total of $197,631.06 for the


1
 The Debtors in these cases are: Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St.
Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC
Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric Anesthesia
Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III
of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C.


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period from July 15, 2019 through July 31, 2019 (the “Compensation Period”), and respectfully

represents as follows:

                                             Background

               1.        On June 30 and July 1, 2019 (the “Petition Date”), each of the Debtors

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

               2.        On July 15, 2019, the United States Trustee appointed the Official

Committee of Unsecured Creditors (the “Committee”) [D.I. 182].

               3.        Sills was retained as counsel to the Committee, effective as of July 15,

2019, pursuant to this Court’s Amended Order Authorizing the Employment and Retention of

Sills Cummis & Gross P.C. as Attorneys for Official Committee of Unsecured Creditors of

Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al. Nunc Pro Tunc to

July 15, 2019, entered on September 5, 2019 [D.I. 650].

                                Compensation Paid and Its Source

               4.        All services for which compensation is requested were performed for or

on behalf of the Committee. During the Compensation Period, Sills received no payment and no

promises for payment from any source other than the Debtors for services rendered or to be

rendered in any capacity whatsoever in connection with the matters covered by this Application.

There is no agreement or understanding between Sills and any other person, other than with the

members, of counsel and associates of the firm, for the sharing of compensation to be received

for services rendered in these chapter 11 cases.

                                           Fee Statements

               5.        The fee statement for the Compensation Period is attached as Exhibit A.

To the best of Sills’ knowledge, this Application reasonably complies with sections 330 and 331

of the Bankruptcy Code, the Bankruptcy Rules, the Region 3 Operating Guidelines and

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Reporting Requirements for Chapter 11 Debtors and Trustees, the Guidelines for Reviewing

Applications for Compensation and Reimbursement for Expenses Filed Under 11 U.S.C. § 330

by Attorneys in Larger Chapter 11 Cases Effective November 1, 2013, Local Rule 2016-2,

applicable Third Circuit law, and the Compensation Order.

                                  Actual and Necessary Expenses

                  6.     Detailed information regarding the actual and necessary expenses incurred

by Sills during the Compensation Period is included in Exhibit A.

                                  Summary of Services by Project

                  7.     The services Sills rendered during the Compensation Period can be

grouped into the categories set forth below. These categories are generally described below,

with a more detailed identification of the actual services provided in the attached Exhibit A.

          A.      Asset Disposition

                  Fees: $71,767.50;     Total Hours: 108.7

          This category includes time expended by Sills in connection with all matters relating to

the disposition, and other post-petition uses of, property of the Debtors’ estates, including issues

relating to the sales of St. Christopher’s Hospital for Children (“STC”) and Hahnemann

University Hospital’s (“HUH”) resident program assets, as well as the proposed closure of HUH.

Time in this category includes time spent drafting an objection to the proposed bidding

procedures for the sale of STC, drafting an objection to the proposed bidding procedures for the

sale of the HUH resident program assets, drafting an objection to the Debtors’ motion to close

HUH, analyzing and marking up proposed bidding procedure and sale documents, including

asset purchase agreements, attending hearings regarding such matters, and communicating with

the Debtors’ counsel, the Debtors’ financial advisor, the Committee, the Committee’s other

advisors, potential bidders and other third parties regarding such matters.

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          B.      Business Operations

                  Fees: $7,147.00;      Total Hours: 10.6

          This category includes time expended by Sills addressing issues relating to the operation

of the Debtors’ businesses, including time spent analyzing and marking up “first day” motions

and proposed orders relating to the operation of the Debtors’ businesses, and analyzing the

adequacy of the proposed DIP and HUH shutdown budgets.

          C.      Case Administration

                  Fees: $49,001.50;     Total Hours: 76.5

          This category includes time expended by Sills addressing matters related to the

administration of the Debtors’ chapter 11 cases, including attending Committee meetings,

drafting updates to the Committee members, attending hearings, drafting the Committee’s by-

laws, updating the “critical dates” case calendar, drafting memoranda summarizing various “first

day” motions and applications, analyzing and marking-up proposed orders on various “first day”

motions and applications, preparing pro hac vice motions and notices of appearance, and

considering matters of general import.

          D.      Claims Administration and Objection

                  Fees: $3,000.50;      Total Hours: 4.1

          This category includes time expended by Sills analyzing claims and liens asserted against

the Debtors’ estates, including potential WARN Act claims.

          E.      Employee Benefits/Pensions

                  Fees: $1,669.50;      Total Hours: 2.1

          This category includes time expended by Sills addressing issues relating to the Debtors’

union employees and a proposed motion to provide an interim chief financial officer.



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          F.      Fee/Employment Applications

                  Fees: $10,557.50;     Total Hours: 17.3

          This category includes time expended by Sills preparing its retention application and

assisting the Committee in connection with its retention of a financial advisor.

          G.      Fee/Employment Objections

                  Fees: $715.50;        Total Hours: 0.9

          This category includes time expended by Sills addressing issues relating to the potential

retention of Alvarez & Marsal.

          H.      Financing

                  Fees: $109,306.00;    Total Hours: 169.3

          This category includes all matters relating to debtor in possession financing and cash

collateral issues. Time in this category includes time spent reviewing the DIP motion, DIP

orders and DIP loan documents, including the DIP credit agreement, drafting an objection to the

proposed DIP and conducting related research, and communicating with the Debtors’ advisors,

the Committee’s financial advisor, and the DIP lender’s counsel regarding the foregoing.

          I.      Relief from Stay Proceedings

                  Fees: $1,029.00;      Total Hours: 1.4

          This category includes time expended by Sills analyzing a motion seeking stay relief.

          J.      Travel (Billed at 50%)

                  Fees: $1,669.50;      Total Hours: 2.1

          This category includes time expended by Sills traveling to hearings in Delaware.

                                             Conclusion

                  8.     In accordance with the factors enumerated in Bankruptcy Code section

330, it is respectfully submitted that the amounts requested by Sills are fair and reasonable given

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(a) the complexity of these cases, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under this title. Moreover, Sills has reviewed the requirements of Local Rule 2016-2 and

believes that this Application reasonably complies with that Rule.

          WHEREFORE, Sills respectfully requests that the Court authorize that an allowance be

made to Sills for the Compensation Period with respect to the sums of $196,500.00 (80% of

$245,625.00) as compensation and $1,131.06 for reimbursement of actual and necessary

expenses, for a total of $197,631.06, and that such sums be authorized for payment and for such

additional relief as the Court deems just.

Dated: November 21, 2019                      Respectfully submitted,
Wilmington, Delaware
                                              /s/ Thomas M. Horan
                                              Thomas M. Horan (DE Bar No. 4641)
                                              FOX ROTHSCHILD LLP
                                              919 North Market Street, Suite 300
                                              Wilmington, DE 19899
                                              Telephone: 302-654-7444
                                              Facsimile: 302-6568920
                                              Email: thoran@foxrothschild.com

                                              - and -

                                              Andrew H. Sherman (pro hac vice)
                                              Boris I. Mankovetskiy (pro hac vice)
                                              SILLS CUMMIS & GROSS P.C.
                                              One Riverfront Plaza
                                              Newark, NJ 07102
                                              Telephone: 973-643-7000
                                              Facsimile: 973-643-6500
                                              Email: asherman@sillscummis.com
                                                      bmankovetskiy@sillscummis.com

                                              Counsel for the Official Committee
                                              of Unsecured Creditors




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                                        VERIFICATION

STATE OF NEW JERSEY                   )
                                      ) SS:
COUNTY OF ESSEX                       )

               Andrew H. Sherman, after being duly sworn according to law, deposes and says:

               a)      I am an attorney at law and a Member of the law firm of Sills Cummis &

Gross P.C., located at One Riverfront Plaza, Newark, New Jersey 07102.

               b)      I am familiar with the work performed on behalf of the Committee by the

lawyers in the firm.

               c)      I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Local Rule 2016-2, and submit that the Application substantially complies therewith.

Dated: November 21, 2019

                                                     /s/ Andrew H. Sherman
                                                     Andrew H. Sherman




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             Exhibit A
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                                 S ILLS C UMMIS & G ROSS
                                          A PROFESSIONAL CORPORATION

                                        THE LEGAL CENTER
                                      ONE RIVERFRONT PLAZA
                                    NEWARK, NEW JERSEY 07102-5400
                                            (973) 643-7000


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Official Committee of Unsecured Creditors of Center City Healthcare LLC
 d/b/a Hahnemann University Hospital
c/o Tom Arnst, Committee Chair
Conifer Health Solutions
3560 Dallas Parkway
Frisco, TX 75034
                                                                                 FEI # XX-XXXXXXX

Re:   Creditors' Committee


For legal services rendered:
                                                                               HOURS
102 - ASSET DISPOSITION
Val




07/16/19    AHS          102      Calls and emails re: closure motion and        0.30
                                  written plan.
                         102      Email from union counsel re: closure plan      0.20
                                  issues.
                         102      Initial review of St. Christopher's bid        0.70
                                  procedures and email to Committee re:
                                  motion and proposed schedule.
                         102      Call with Sodexo re: Committee selection       0.20
                                  issues.
07/16/19    BM           102      Attend to issues regarding Debtors' motion     1.20
                                  to implement plan of closure of HUH.
07/16/19    GAK          102      Review bidding procedures motion and           1.70
                                  proposed bidding procedures and prepare
                                  summary of same for the Committee
                                  members.
07/16/19    LFH          102      Analyze residency sale bidding procedures      0.90
                                  issues.
                         102      Review and analyze residency program           2.20
                                  bidding procedures order and bidding
                                  procedures.
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                                      A PROFESSIONAL CORPORATION

                                    THE LEGAL CENTER
                                  ONE RIVERFRONT PLAZA
                                NEWARK, NEW JERSEY 07102-5400
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                     102      Revise draft residency program bidding            3.10
                              procedures order and bidding procedures.
07/17/19   AHS       102      Review of resident's objection to sale and        0.50
                              call with counsel for accreditation
                              association and follow up re: same.
                     102      Analysis of potential conflict of interest        0.40
                              issues re: current management.
                     102      Call with counsel for landlord re: sale           0.40
                              issues and background issues.
                     102      Address issues re: St. Christopher's bid          0.30
                              procedures and objection deadlines.
                     102      Calls with counsel for union and review of        0.60
                              emails re: closure plan issues, follow up re:
                              same with counsel for Debtors.
                     102      Review of proposed revisions to residents'        0.40
                              bidding procedures and have same sent to
                              counsel for Debtors for review and
                              consideration.
07/17/19   BM        102      Analysis regarding Committee's objection          0.80
                              to motion to establish bidding procedures
                              for residency program.
                     102      Analysis of issues regarding Debtors'             1.70
                              motion to establish bidding procedures and
                              approve stalking horse APA in connection
                              with the sale of residency slots.
                     102      Attend to revisions of proposed residency         0.90
                              program bidding procedures and related
                              documents.
07/17/19   GAK       102      Review Debtors' Motion to Close HUH and           2.80
                              begin drafting objection thereto.
                     102      Research in connection with Debtors'              1.60
                              Motion to Close HUH.
07/17/19   LFH       102      Review residency program bidding                  0.80
                              procedures order and bidding procedures.
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                             S ILLS C UMMIS & G ROSS
                                      A PROFESSIONAL CORPORATION

                                    THE LEGAL CENTER
                                  ONE RIVERFRONT PLAZA
                                NEWARK, NEW JERSEY 07102-5400
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                     102      Analyze residency program bidding                0.90
                              procedures revision and objection issues.
                     102      Revise residency program bidding                 3.40
                              procedures order and bidding procedures.
                     102      Conferences with A. Sherman and B.               0.50
                              Mankovestkiy regarding residency program
                              bidding procedures order and bidding
                              procedures.
                     102      Revise objection and reservation of rights       0.60
                              regarding residency program bidding
                              procedures.
                     102      Review and analyze St. Christopher' s            1.60
                              bidding procedures order and bidding
                              procedures.
                     102      Prepare objection to residency program           1.40
                              bidding procedures.
07/18/19   AHS       102      Prepare for and attend call with counsel for     0.80
                              Debtors and counsel for Tower re: bidding
                              procedures for resident's program assets
                              and upcoming hearing.
                     102      Calls and emails with counsel for Tower re:      0.70
                              bidding procedures issues and review of
                              documents as sent by counsel.
                     102      Review of bidding issues as raised by            0.30
                              counsel for AAMC and the ECFMG.
                     102      Review and revise reservation of rights re:      0.30
                              residents' bidding issues and have same
                              filed.
                     102      Review of further drafts of bidding              0.80
                              procedures and proposed form of order
                              based on various calls and emails re: same.
                     102      Email to counsel for Debtors re: conflict of     0.40
                              issues interest relating to current
                              management.
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07/18/19   BM        102      Analysis regarding filed objections to            1.10
                              motion to establish bidding procedures for
                              residency program.
                     102      Attend to issues regarding recusal of certain     0.70
                              conflicted insiders from the STC sale
                              process.
                     102      Attend to issues regarding resolution of          1.80
                              Committee's objections to residency
                              bidding procedures and proposed form of
                              order.
                     102      Attend to revisions of proposed residency         1.40
                              bid procedures and order.
                     102      Analysis regarding stalking horse APA for         1.70
                              residency program sale.
                     102      Analysis regarding stalking horse                 0.80
                              purchaser's comments to proposed bidding
                              procedures and order.
07/18/19   LFH       102      Revise objection to residency program             0.60
                              bidding procedures.
                     102      Confer with B. Mankovetskiy and A.                0.30
                              Sherman regarding J. Freedman/insider St.
                              Christopher's sale issue.
                     102      Review revised residency program bidding          1.30
                              procedures order and bidding procedures.
                     102      Review and analyze St. Christopher's              1.70
                              bidding procedures order and bidding
                              procedures.
                     102      Analyze residency program bidding                 0.90
                              procedures issues.
07/19/19   AHS       102      Prepare for hearing re: bidding procedures        1.60
                              for sale of residency slots.
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                     102      Attend hearing re: bidding procedures for       4.20
                              sale of residency slots, including meeting
                              with counsel for Debtors and other parties
                              in interest regarding bidding procedures
                              issues and objections and reviewing forms
                              of order and form of bidding procedures.
07/19/19   BM        102      Analysis regarding revisions to residency       0.60
                              bidding procedures and order provided by
                              MidCap and Tower.
                     102      Attend to issues regarding resolution of        1.10
                              Committee's objections to residency
                              bidding procedures.
                     102      Analysis regarding revised proposed             0.90
                              stalking horse APA with Tower.
07/19/19   LFH       102      Analyze St. Christopher's bidding               0.70
                              procedures issues.
                     102      Revise St. Christopher's bidding procedures     2.30
                              order.
07/21/19   GAK       102      Attention to objection to motion to close       0.20
                              HUH.
07/22/19   AHS       102      Review and revise proposed form of order        0.70
                              for St. Christopher bidding and proposed
                              bidding procedures.
07/22/19   BM        102      Attend to revisions of proposed STC             0.80
                              bidding procedures and order.
                     102      Attend to issues regarding HUH closure          0.80
                              plan and winddown budget.
                     102      Attend to Committee's response to Debtors'      0.60
                              motion to implement HUH closure.
                     102      Attend to issues regarding proposed STC         1.40
                              bidding procedures and order.
07/22/19   GAK       102      Draft response to motion to close HUH.          2.30
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07/22/19   LFH       102      Confer with B. Mankovetskiy regarding St.         0.30
                              Christopher's bidding procedures issues.
                     102      Revise St. Christopher's bidding                  3.30
                              procedures.
                     102      Review and analyze St. Christohper's              1.10
                              bidding procedures order and bidding
                              procedures.
                     102      Analyze St. Christopher's bidding                 1.40
                              procedures issues.
07/23/19   AHS       102      Call with counsel for Debtors re: sale issues     0.40
                              relating to St. Christopher's.
                     102      Calls and emails re: closure issues and           0.40
                              review of objection re: same.
07/23/19   BM        102      Attend to revisions of STC bid procedures         1.30
                              and proposed form of order.
                     102      Attend to issues regarding resolution of          1.40
                              Committee's objections to STC bidding
                              procedures and order.
                     102      Attend to issues regarding recusal of certain     0.80
                              insiders from STC sale process.
                     102      Analysis regarding PASNAP's objection to          0.40
                              STC bidding procedures motion.
                     102      Attend to Committee's objection to Debtors'       0.90
                              motion to approve STC bidding procedures.
07/23/19   GAK       102      Review Debtors' motion to file under seal         0.10
                              notice of assumption of executory
                              contracyts
                     102      Drafting response to Motion to Close HUH.         0.40
07/23/19   LFH       102      Analyze St. Christopher's bidding                 0.90
                              procedures objection issues.
                     102      Review and analyze first day declaration          0.80
                              regarding bidding procedures objection and
                              debtor insider/structure issues.
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                     102      Research and analyze conflict of interests      0.90
                              and sale issues.
                     102      Review and analyze St. Christopher's            0.60
                              bidding procedures order and bidding
                              procedures.
                     102      Revise objection to St. Christopher's           0.90
                              bidding procedures motion.
                     102      Prepare objection to St. Christopher's          4.40
                              bidding procedures motion.
07/24/19   AHS       102      Review and revise proposed objection to St.     0.40
                              Christopher's bidding procedures.
                     102      Calls and emails with counsel for possible      0.30
                              purchaser re: status and opportunity.
                     102      Review of revised bid procedures and form       0.70
                              of order as circulated by counsel for
                              Debtors and emails re: same.
                     102      Call with counsel for Debtors, CRO and          1.10
                              banker re: sale and financing issues and
                              issues re: alternate proposal for DIP
                              financing.
07/24/19   BM        102      Attend to issues regarding resolution of        1.10
                              Committee's objections to STC bidding
                              procedures.
                     102      Call with BRG regarding STC sale process        0.50
                              issues.
                     102      Attend to revisions of Debtors' revised         0.90
                              proposed STC bidding procedures and
                              order.
                     102      Attend to Committee's response to Debtors'      0.50
                              motion to implement HUH closure.
07/24/19   GAK       102      Communications with local counsel               0.10
                              regarding response to motion to close
                              hospital.
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07/24/19   LFH       102      Review and analyze revised St.                    0.60
                              Christopher's bidding procedures and
                              bidding procedures order.
                     102      Analyze St. Christopher's bidding                 0.50
                              procedures issues.
07/25/19   AHS       102      Further review of bidding procedures and          0.40
                              proposed form order in preparation for
                              hearing and address possible objections.
                     102      Review and analysis of City of Philadelphia       0.30
                              objection and Locum objection.
                     102      Calls with counsel for Debtors re: bidding        0.90
                              procedures issues for St. Christopher's and
                              review of revised draft; address objection
                              issues and have reservation of rights
                              prepared to bidding procedures.
                     102      Calls with Committee members re: St.              0.30
                              Christopher's bidding issues and sale issues.
                     102      Email to Committee re: status update and          0.40
                              recusal issues.
07/25/19   BM        102      Analysis regarding Philadelphia's objection       0.40
                              to motion to sell STC.
                     102      Calls with Debtors' counsel regarding STC         0.70
                              bidding procedures and order.
                     102      Attend to Committee's objection and               0.70
                              reservation of rights in connection with
                              STC sale motion.
                     102      Attend to issues regarding recusal of certain     0.60
                              insiders from the STC sale process.
                     102      Attend to revisions of proposed STC               0.90
                              bidding procedures and order.
07/25/19   LFH       102      Review and analyze revised St.                    0.60
                              Christopher's bidding procedures order and
                              bidding procedures.
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                     102      Analyze St. Christopher's bidding              0.70
                              procedures issues.
                     102      Revise and finalize SCH bidding                1.10
                              procedures objection.
07/26/19   AHS       102      Prepare for and attend hearing regarding       2.60
                              bidding procedures for St. Christopher's
                              including following with Debtors after
                              hearing regarding form of order.
07/26/19   BM        102      Attend to revisions of proposed STC            1.30
                              bidding procedures and proposed form of
                              order.
                     102      Attend to post-hearing revisions of the        1.70
                              bidding procedures and form of order for
                              STC sale.
07/29/19   AHS       102      Call with potential bidder for Hahnemann       0.30
                              and emails re: same.
07/29/19   GAK       102      Review St. Christopher Bidding Procedures      1.30
                              Order.
                     102      Review Tenet's Motion to compel payment        0.90
                              of contract debts.
                     102      Draft email to Committee summarizing           0.70
                              Tenet's Motion to compel payment of
                              contract debts.
07/30/19   BM        102      Analysis regarding KPC's expression of         0.40
                              interest in acquiring Debtors' assets.
07/31/19   AHS       102      Call from counsel to union re: bidding         0.20
                              issues.

                      TASK TOTAL 102                                        109.40       72,275.00

103 - BUSINESS OPERATIONS
Val




07/15/19   GAK       103      Begin reviewing and analyzing the Debtors'     2.40
                              first day operational motions.
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07/16/19   AHS       103      Review of by-laws and send to Committee         0.60
                              for review and comment.
07/16/19   BM        103      Analysis regarding Debtors organizational       1.60
                              and capital structures.
07/17/19   BM        103      Attend to issues regarding closure of HUH       0.70
                              and shutdown budget.
07/18/19   BM        103      Analysis regarding proposed final orders on     1.20
                              first day motions and Committee's
                              comments thereto.
07/18/19   GAK       103      Review and mark up cash management              0.50
                              order.
07/22/19   BM        103      Attend to revisions of proposed final first     0.90
                              day orders.
                     103      Attend to resolution of Committee's             0.60
                              comments to proposed final first date
                              orders.
07/24/19   BM        103      Attend to issues regarding Debtors' closure     1.10
                              of HUH.
07/25/19   BM        103      Analysis regarding proposed stipulation,        0.30
                              order and Business Associate Agreement
                              between the Debtors and PCO.
07/30/19   BM        103      Attend to issues regarding sufficiency of       0.70
                              the DIP budget to pay administrative
                              claims.

                      TASK TOTAL 103                                          10.60        7,147.00

104 - CASE ADMINISTRATION
Val




07/15/19   AHS       104      Attend meeting with counsel for Debtors re:     1.20
                              case background and request to adjourn
                              bidding procedures for resident program
                              assets.
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                     104      Review of pleadings and formulate initial         1.80
                              strategy relating to sale of resident program
                              assets, proposed DIP financing, initial fist
                              day relief, including cash management and
                              critical vendor.
07/15/19   BM        104      Attend initial Committee meeting.                 0.70
                     104      Attend initial meeting with Debtors'              1.20
                              counsel regarding the cases and pending
                              matters.
                     104      Attend to issues regarding Committee by-          0.70
                              laws and organizational matters.
                     104      Attend to issues regarding selection of           0.60
                              Committee's financial advisor.
07/15/19   LFH       104      Analyze Committee administration and              0.40
                              financial advisor issues.
                     104      Prepare Committee by-laws.                        2.30
07/16/19   AHS       104      Call with counsel for nurses union re:            0.30
                              Committee issues.
                     104      Review of materials sent by financial             0.40
                              advisors in advance of meeting.
                     104      Call with counsel to Conifer re: Committee        0.30
                              issues and FA.
                     104      Prepare for and attend Committee meeting          2.60
                              to select financial advisors and follow up
                              re: same with A&M.
07/16/19   BM        104      Attend to initial information requests to the     1.40
                              Debtors.
                     104      Attend Committee call and FA interviews.          2.60
                     104      Analysis regarding Debtors' first day             2.90
                              motions and interim orders.
                     104      Prepare a status report to the Committee.         0.40
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07/16/19   GAK       104      Review first day declaration and summarize       3.90
                              first day motions for memorandum to the
                              Committee members.
07/16/19   JT        104      Review First Day Affidavit and material          1.20
                              pleadings.
07/16/19   LFH       104      Revise Committee by-laws.                        1.30
07/17/19   AHS       104      Review of pro hac motions and notice of          0.20
                              appearance.
07/17/19   BM        104      Call with Debtors' professionals regarding       0.70
                              pending matters.
                     104      Attend to issues regarding initial diligence     0.40
                              requests to the Debtors.
07/17/19   GAK       104      Drafting memorandum for the Committee            2.90
                              members regarding the Debtors' first day
                              motions.
07/18/19   AHS       104      Email to Committee to provide status             0.40
                              update.
07/18/19   GAK       104      Work on memorandum summarizing first             4.10
                              day pleadings.
07/18/19   LFH       104      Analyze Freedman and insider conflicts           0.70
                              issues.
                     104      Revise correspondence to debtors' counsel        0.60
                              regarding Freedman/insider conflict of
                              interests issues.
                     104      Prepare correspondence to debtors' counsel       1.20
                              regarding Freedman/insider conflict of
                              interests issues.
07/19/19   BM        104      Attend to preparation for omnibus hearing.       1.60
                     104      Appear at omnibus hearing.                       4.20
07/19/19   GAK       104      Review and mark up proposed order for            0.70
                              critical vendor motion.
                     104      Review and mark up proposed order for            0.90
                              wages motion.
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                     104      Review and mark up proposed order for            0.80
                              taxes motion.
                     104      Review and mark up proposed order for            0.70
                              insurance motion.
                     104      Review and mark up proposed order for            0.60
                              utilities motion.
07/20/19   AHS       104      Email to Committee re: status of financial       0.80
                              advisors and bidding procedures order.
07/20/19   GAK       104      Attention to cash management motion and          1.10
                              proposed order.
                     104      Attention to critical vendor motion and          0.80
                              proposed order.
                     104      Prepare Key Dates calendar for the               3.10
                              Committee members.
07/21/19   GAK       104      Communications with debtors' counsel             0.30
                              regarding final orders for cash management
                              and critical vendor motions.
07/22/19   AHS       104      Email to Committee re: status update and         0.30
                              critical dates.
                     104      Review of revisions to first day order and       0.60
                              emails to counsel re: same.
07/22/19   GAK       104      Update critical dates calendar for the           0.80
                              Committee members.
                     104      Communications with Debtors' counsel             0.20
                              regarding finalization of order for Critical
                              Vendor motion.
                     104      Attention to finalization of cash                0.30
                              management order.
                     104      Communications with Debtors' counsel             0.20
                              regarding taxes order.
                     104      Attention to finalization of wages motion.       0.20
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                     104      Communications with Debtors' counsel and       0.40
                              counsel to Chubb regarding insurance
                              motion.
07/23/19   GAK       104      Communications with Debtors' counsel and       0.60
                              Chubb re: proposed wage and insurance
                              orders.
                     104      Mark up proposed wage and insurance            0.40
                              orders.
07/24/19   BM        104      Attend call with the Debtors' counsel          0.60
                              regarding pending matters.
07/24/19   GAK       104      Communications with Debtors' counsel and       0.30
                              Chubb's counsel regarding finalization of
                              wage and insurance orders.
                     104      Update Critical Dates Chart.                   0.20
07/25/19   AHS       104      Emails and calls re: upcoming committee        0.20
                              meeting and ex officio request.
07/25/19   GAK       104      Update critical deadline calendar.             0.30
07/26/19   BM        104      Appear at omnibus hearing.                     2.30
                     104      Attend to preparation for omnibus hearing.     1.30
07/29/19   AHS       104      Address Conifer recusal issues.                0.20
                     104      Review of BRG report and follow up calls       0.60
                              and emails re: same.
07/29/19   BM        104      Review and comment on BRG's draft report       0.40
                              to Committee.
                     104      Call with BRG regarding pending matters.       0.70
07/30/19   AHS       104      Prepare for and attend meeting of              1.10
                              Committee re: DIP financing and sale
                              issues.
07/30/19   BM        104      Call with Debtors' counsel regarding           0.40
                              pending matters.
                     104      Call with BRG regarding pending matters.       0.60
                     104      Attend Committee update call.                  0.90
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07/30/19   GAK       104      Review notice regarding upcoming hearing.        0.20
07/30/19   LFH       104      Prepare objection to CFO motion.                 1.40
07/31/19   GAK       104      Review Patient' Care ombudsman's                 0.80
                              retention applications and update case
                              calendar re: same.
07/31/19   LFH       104      Prepare objection to Tatum retention             4.20
                              motion.
                     104      Analyze structural conflicts of interest         1.60
                              issues.
                     104      Review and analyze debtor organizational         1.20
                              chart and capital structure representations
                              and documents with respect to conflicts of
                              interest issues.

                      TASK TOTAL 104                                           76.50       49,001.50

105 - CLAIMS ADMINISTRATION AND OBJECTIONS
Val




07/17/19   BM        105      Analysis regarding Debtors' relationship         1.10
                              with HRSRE affiliates and lease payment
                              issues.
07/18/19   AHS       105      Calls and emails with Committee member           0.40
                              re: by-law issues and address same.
07/24/19   BM        105      Attend to issues regarding investigation of      1.10
                              liens and claims of pre-petition lender.
07/25/19   BM        105      Attend to issues in connection with              0.80
                              investigation of MidCap's pre-petition liens
                              and claims.
07/29/19   BM        105      Analysis regarding potential WARN                0.70
                              claims.

                      TASK TOTAL 105                                            4.10        3,000.50
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106 - EMPLOYEE BENEFITS/PENSIONS
Val




07/22/19   AHS       106      Calls with counsel for union re: payment       0.60
                              issues and address issues re: resident's
                              program asset sale.
07/31/19   AHS       106      Review of issues relating to CFO motion        1.10
                              including review and analysis of service
                              agreement and have objection drafted.
                     106      Calls and emails with counsel for Debtors'     0.40
                              re: CFO motion and concerns of
                              Committee.

                      TASK TOTAL 106                                          2.10        1,669.50

107 - FEE/EMPLOYMENT APPLICATIONS
Val




07/15/19   AHS       107      Address issues relating to hiring of           0.60
                              financial advisor and send emails to
                              Committee and financial advisors setting
                              schedule for presentations to the
                              Committee.
07/17/19   BM        107      Analysis of Debtors' applications for the      0.60
                              retentions of professionals.
07/18/19   BM        107      Analysis regarding Debtors' Motion to          0.60
                              Approve (I) Agreement with Randstad
                              Professionals US, LLC to Provide an
                              Interim Chief Financial Officer.
07/18/19   LFH       107      Analyze retention issues.                      0.80
07/20/19   AHS       107      Calls and emails re: financial advisor         0.40
                              retention issues.
07/24/19   LFH       107      Analyze retention issues.                      0.90
                     107      Analyze retention issues.                      0.50
07/29/19   LFH       107      Review and analyze debtor professional         0.70
                              retention applications.
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                     107      Analyze retention application and U.S.          1.30
                              Trustee guideline issues.
                     107      Prepare retention application.                  1.90
07/30/19   LFH       107      Analyze retention application issues.           0.90
                     107      Review and analyze CFO motion.                  0.90
                     107      Prepare retention application.                  1.20
07/31/19   BM        107      Attend to issues regarding Debtors' motion      1.40
                              to retain interim CFO and Committee's
                              objection thereto.
07/31/19   LFH       107      Analyze Tatum conflicts of interest issues.     0.80
                     107      Review and analyze Eisner retention             0.90
                              application with respect to Eisner and CRO
                              duties.
                     107      Review and analyze Tatum application with       1.10
                              respect to Tatum and CFO duties vis-à-vis
                              Eisner and CRO duties.
                     107      Analyze Tatum retention objection issues.       1.30
                     107      Conferences with A. Sherman and B.              0.50
                              Mankovetskiy regarding Tatum conflicts of
                              interest issues.

                      TASK TOTAL 107                                          17.30       10,557.50

108 - FEE/EMPLOYMENT OBJECTIONS
Val




07/17/19   AHS       108      Call from counsel for Debtors re: A&M           0.50
                              issues and follow up re: same.
07/18/19   AHS       108      Calls and emails to address issues re: A&M      0.40
                              retention.

                      TASK TOTAL 108                                           0.90         715.50
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109 - FINANCING
Val




07/16/19   JT        109      Review DIP Motion loan agreements and           4.10
                              Interim Order.
                     109      Office conference with A. Sherman and B.        0.60
                              Mankovetskiy regarding DIP financing.
07/17/19   AHS       109      Calls with counsel for Conifer re: sale         0.40
                              issues, FA issues and DIP financing issues.
                     109      Calls with A&M re: background, DIP              0.40
                              financing and sale issues.
                     109      Attend call with counsel for Debtors, CRO       1.20
                              and banker re: DIP financing, sale issues
                              and document requests.
07/17/19   BM        109      Analysis of issues regarding DIP financing      2.20
                              motion, interim order and DIP financing
                              credit agreement.
07/17/19   JT        109      Outline issues for DIP Objection.               0.80
                     109      Review DIP Credit Agreement.                    1.20
                     109      Begin drafting Objection to DIP Financing       2.70
                              Motion.
                     109      Office conference with B. Mankovetskiy          0.40
                              and A. Sherman regarding DIP Financing
                              issues.
07/18/19   AHS       109      Emails with counsel for MidCap re: DIP          0.30
                              financing issues.
07/18/19   BM        109      Analysis regarding proposed final DIP           1.60
                              financing order and Committee's objections
                              thereto.
07/18/19   JT        109      Office conference with B. Mankovetskiy          0.80
                              regarding DIP Financing issues.
                     109      Review Debtors' corporate organization.         0.50
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                     109      Review First Day Affidavits, Cash               2.80
                              Management Motion, DIP Financing
                              Motion and related Interim Orders.
                     109      Research regarding DIP Financing issues,        3.70
                              including Section 506(c), marshaling and
                              roll-ups.
07/19/19   JT        109      Work on Objection to DIP Financing.             4.20
                     109      Review DIP Credit Agreement.                    0.60
                     109      Research regarding interest and fees            1.10
                              allowable under Section 364.
                     109      Review Interim DIP Order.                       0.80
07/22/19   AHS       109      Prepare for and attend call with BRG re:        0.70
                              case background and action items and
                              follow up re: same.
                     109      Further analysis of DIP financing issues to     0.80
                              prepare issues list for counsel for Midcap
                              and calls re: DIP financing issues.
07/22/19   BM        109      Analysis of issues regarding DIP credit         0.80
                              agreement and related documents.
                     109      Analysis regarding Committee's objections       1.60
                              to final DIP financing order.
07/22/19   JT        109      Continue drafting Objection to DIP              3.80
                              Financing Motion.
                     109      Analysis of fees and interest under the DIP     2.30
                              Credit Agreement.
07/22/19   REB       109      Review DIP Financing Motion, Interim DIP        4.20
                              Order and DIP Credit Agreement.
                     109      Draft preliminary issues list regarding DIP     6.40
                              financing order.
07/23/19   AHS       109      Calls with counsel for JMB re: potential        1.10
                              alternate financing and analysis re: same;
                              review of email re: same.
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                     109      Call with counsel for Debtors re: DIP             0.30
                              financing issues and follow up re: same.
                     109      Review and revise DIP financing issues list       0.80
                              and circulate to the parties for review and
                              discussion.
                     109      Calls with parties to discuss confidentiality     0.30
                              issues and follow up emails re: same so that
                              BRG can gain access to information.
                     109      Attend call with BRG re: financial update         0.70
                              and strategy issues.
07/23/19   BM        109      Attend to issues list with respect to the DIP     1.10
                              financing for discussion with MidCap and
                              Debtors.
                     109      Attend proposed final DIP financing order         1.40
                              and credit agreement and the Committee's
                              objections thereto.
                     109      Analysis regarding additional DIP                 0.90
                              financing proposal from JMB.
07/23/19   JT        109      Review schedules to DIP Credit                    1.30
                              Agreement.
                     109      Correspondence with Debtors' counsel              0.20
                              regarding DIP Credit Agreement Schedules.
                     109      Office conference with A. Sherman                 0.40
                              regarding DIP Financing.
                     109      Continue drafting Objection to DIP                3.10
                              Financing Motion.
                     109      Research regarding DIP Financing Fees and         1.80
                              Interest Rates.
07/23/19   REB       109      Draft preliminary issues list regarding DIP       3.80
                              financing order.
                     109      Revise preliminary DIP financing issues           2.30
                              list.
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                     109      Draft email to Committee re: DIP financing      0.20
                              issues list.
                     109      Review email re: additional DIP financing       0.30
                              facility.
07/24/19   AHS       109      Prepare for and attend call with BRG re:        0.70
                              alternate proposed DIP financing.
                     109      Calls and emails with counsel for JMB and       0.80
                              MidCap re: alternate financing and terms of
                              proposal.
07/24/19   BM        109      Call with Debtors' professionals regarding      0.60
                              proposed additional financing from JMB.
                     109      Analysis of MidCap's pre-petition credit        2.30
                              and security agreements.
                     109      Analysis of issues regarding JMB's              1.70
                              proposal for additional DIP financing.
07/24/19   JT        109      Research regarding DIP Financing issues,        3.20
                              including adequate provisions for over-
                              secured creditors and roll-up financing.
                     109      Continue drafting objection to DIP              2.70
                              Financing Motion.
                     109      Review DIP Budget and compare it to DIP         0.80
                              Credit Agreement regarding costs of the
                              financing.
07/24/19   MDL       109      Internal conference and exchange e-mails        0.40
                              with B. Mankovetskiy regarding
                              background, proceedings and loan
                              transactions.
                     109      Review and analyze MidCap loan and              0.30
                              security documents.
07/25/19   AHS       109      Call re: alternate financing issues.            0.20
                     109      Address and respond to questions re: DIP        0.20
                              objection deadlines.
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                     109      Call with counsel for Conifer re: lift stay     0.30
                              motion and DIP financing issues.
07/25/19   BM        109      Analysis regarding Committee's objection        1.60
                              to entry of final DIP financing order and
                              evidentiary issues for the hearing.
07/25/19   GAK       109      Attention to the Debtors' UCC searches and      0.50
                              communications with Debtors' counsel
                              regarding same.
07/25/19   JT        109      Draft DIP Financing Objection.                  2.50
                     109      Research regarding Section 364 and roll-up      3.20
                              financing.
07/25/19   MDL       109      Exchange emails with G. Kopacz regarding        0.10
                              UCC lien searches concerning MidCap lien
                              investigation.
                     109      Review bringdown, post-closing UCC-1            0.30
                              searches concerning MidCap lien
                              investigation and internal conference with
                              B. Mankovetskiy regarding same.
07/25/19   REB       109      Draft objection to DIP financing motion.        7.20
07/26/19   JT        109      Continue working on objection to DIP            3.20
                              Financing.
                     109      Review e-mail correspondence with               0.40
                              counsel for Debtors and DIP Lenders
                              regarding DIP Financing.
                     109      Office conference with A. Sherman and B.        0.60
                              Mankovetskiy regarding DIP Financing.
07/26/19   REB       109      Draft objection to DIP Financing Motion.        4.10
                     109      Review DIP Financing motion and interim         5.20
                              order and budget in connection with
                              objection to DIP Financing motion.
07/29/19   AHS       109      Review of research re: DIP financing fee        0.90
                              issues including recent decisions by Judge
                              Gross.
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                     109      Call to party re: fee litigation re:            0.20
                              background facts.
                     109      Calls and emails re: DIP financing meet and     0.20
                              confer.
                     109      Call with counsel for creditor re: DIP          0.30
                              financing issues.
                     109      Call with counsel for Tenet/Conifer.            0.30
07/29/19   BM        109      Analysis regarding closing documents for        1.30
                              January and September 2018 credit
                              facilities and amendment.
                     109      Analysis of issues regarding Debtors'           1.20
                              acquisition of hospital assets from Tenet
                              and Debtors' organization structure.
                     109      Analysis of issues in connection with           1.10
                              Committee's objections to the terms of
                              proposed DIP financing.
07/29/19   JT        109      Continue drafting objections to DIP             4.20
                              Financing Motion.
                     109      Office conference with B. Mankovetskiy          0.40
                              regarding DIP Financing.
07/29/19   REB       109      Draft objection to DIP Financing motion.        7.30
                     109      Review prepetition credit facility              4.10
                              documents and DIP motion/interim order in
                              connection with DIP Financing objection.
07/30/19   AHS       109      Prepare for and attend meet and confer call     1.20
                              with DIP lenders and Debtors re:
                              Committee issues list re: DIP financing and
                              follow up re: same for status of objections
                              and potential discovery.
07/30/19   BM        109      Analysis regarding Committee's objection        1.70
                              to final DIP financing order.
                     109      Call with MidCap's counsel regarding DIP        1.40
                              financing issues.
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07/30/19   JT        109      Continue drafting Objection to DIP             2.70
                              Financing.
                     109      Review internal memo regarding DIP             0.80
                              Financing.
07/30/19   REB       109      Draft objection to DIP Financing Motion.       5.20
                     109      Review and analyze BRG presentation on         4.70
                              DIP budget and financing and incorporate
                              analysis into objection.
07/31/19   AHS       109      Calls and emails to address DIP financing      0.80
                              issues and draft objection.
07/31/19   BM        109      Call with BRG regarding DIP financing          0.60
                              objections.
                     109      Analysis regarding Committee's objection       1.80
                              to proposed final DIP financing order.
07/31/19   REB       109      Prepare for and attend call with BRG re:       1.00
                              DIP financing issues.
                     109      Draft DIP financing objection.                 6.20
                     109      Further revise DIP objection re: updates       5.60
                              from conversations with BRG.

                      TASK TOTAL 109                                        169.30      109,306.00

114 - RELIEF FROM STAY PROCEEDINGS
Val




07/29/19   AHS       114      Email to Committee re: Tenet/Conifer           0.20
                              motion.
07/29/19   BM        114      Analysis regarding Conifer's motion for        0.60
                              relief from automatic stay.
07/31/19   BM        114      Attend to issues regarding Tenet/Confier's     0.60
                              motion for stay relief.

                      TASK TOTAL 114                                          1.40        1,029.00
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116 – TRAVEL (50% of non-working travel billed)
Val




07/19/19   AHS        116       Travel back from hearing. (1.40)                   0.70
07/26/19   AHS        116       Travel to and from hearing re: bidding             1.40
                                procedures for St. Christopher's. (2.80)

                      TASK TOTAL 116                                                2.10        1,669.50



                      TOTAL FEES at Standard Rates                               393.00     $255,863.50

                      TOTAL FEES at Blended Rate of $625                         393.00     $245,625.00

TASK CODE SUMMARY

           102         Asset Disposition                                         108.70       71,767.50
           103         Business Operations                                        10.60        7,147.00
           104         Case Administration                                        76.50       49,001.50
           105         Claims Administration and Objections                        4.10        3,000.50
           106         Employee Benefits/Pensions                                  2.10        1,669.50
           107         Fee/Employment Applications                                17.30       10,557.50
           108         Fee/Employment Objections                                   0.90          715.50
           109         Financing                                                 169.30      109,306.00
           114         Relief from Stay Proceedings                                1.40        1,029.00
           116         Travel                                                      2.10        1,669.50

                      TOTAL FEES at Standard Rates                               393.00     $255,863.50

                      TOTAL FEES at Blended Rate of $625                         393.00     $245,625.00

FEE RECAP
        AHS           Andrew H. Sherman                                $795.00     53.90      42,850.50
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           BM        Boris Mankovetskiy                                $725.00      96.90      70,252.50
           JT        Jason Teele                                       $695.00      63.10      43,854.50
           LFH       Lucas F. Hammonds                                 $575.00      69.90      40,192.50
           MDL       Marc D. Leve                                      $550.00       1.10         605.00
           REB       Rachel E. Brennan                                 $545.00      67.80      36,951.00
           GAK       Gregory A. Kopacz                                 $525.00      40.30      21,157.50
                      TOTAL FEES at Standard Rates                                393.00     $255,863.50

                      TOTAL FEES at Blended Rate of $625                          393.00     $245,625.00

DISBURSEMENT DETAIL

E105
07/09/19    E105         Telephone                                                                  6.42
07/31/19    E105         Telephone                                                                  3.38

E109
07/19/19    E109         Local travel (train - 2 one-way to Wilmington)                           180.00
07/19/19    E109         Local travel (train - 2 one-way from Wilmington)                         404.00
07/19/19    E109         Local travel (taxi)                                                        6.30
07/19/19    E109         Local travel (taxi)                                                        6.30
07/26/19    E109         Local travel (taxi)                                                        6.64
07/26/19    E109         Local travel (train - 2 round trip to/from Wilmington)                   494.00

E111
07/19/19    E111         Meals (travel)                                                             5.67
07/19/19    E111         Meals (travel)                                                             2.25
07/19/19    E111         Meals (travel)                                                             5.85
07/26/19    E111         Meals (travel)                                                            10.25
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                     TOTAL DISBURSEMENTS                                                           $1,131.06

DISBURSEMENT RECAP
        Code   Description                                                     Units                   Total
        E105   Telephone                                                        2.00                    9.80
        E109   Local travel (train, taxi)                                       6.00                1,097.24
        E111   Meals (travel)                                                   4.00                   24.02
                     TOTAL DISBURSEMENTS                                                           $1,131.06

                     TOTAL THIS INVOICE                                                         $246,756.06*




                                                 *Total includes fees at Blended Rate. Per Retention
                                                 Application, lesser of fees at Standard Rates ($255,863.50)
                                                 and fees at Blended Rate of $625 ($245,625.00) apply.
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1

                                    Debtors.

                                      CERTIFICATE OF SERVICE

         I, Thomas M. Horan, hereby certify that on November 21, 2019, a true and correct copy of

the First Monthly Application of Sills Cummis & Gross P.C. for Allowance of Compensation for

Services Rendered and for Reimbursement of Expense as Counsel to the Official Committee of

Unsecured Creditors for the Period July 15, 2019 through July 31, 2019 was served by First Class

Mail to the parties on the attached service list.



    Dated: November 21, 2019                             /s/ Thomas M. Horan
                                                         Thomas M. Horan (DE No. 4641)




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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                                        Service List

Center City Healthcare, LLC                    Saul Ewing Arnstein & Lehr LLP
Attn: Allen Wilen, CRO                         Attn: Mark Minuti, Esq. and Monique B.
230 North Broad Street                         DiSabatino, Esq.
Philadelphia, PA 19102                         1201 North Market Street
                                               Suite 2300
                                               Wilmington, DE 19801

Saul Ewing Arnstein & Lehr LLP                 The Office of the United States Trustee
Attn: Jeffrey Hampton, Esq. and Adam H.        Attn: Benjamin A. Hackman, Esq.
Isenberg, Esq.                                 844 N. King Street, Suite 2207
1500 Market Street                             Lockbox #35
38th Floor                                     Wilmington, DE 19801
Philadelphia, PA 19102

Stradley, Ronon, Stevens & Young, LLP          Stradley, Ronon, Stevens & Young, LLP
Attn: Gretchen M. Santamour, Esq.              Attn: Joelle E. Polesky, Esq.
2005 Market Street                             1000 N. West Street
Suite 2600                                     Suite 1279
Philadelphia, PA 19103                         Wilmington, DE 19801
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                                 EXHIBIT F

                   SECOND MONTHLY FEE APPLICATION




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                              Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL et
al.,1                                                           (Jointly Administered)

                          Debtors.                              Objections Due: December 17, 2019 at 4:00 p.m. ET
                                                                Hearing Date: TBD if objection filed




         SECOND MONTHLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
         FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
            AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
           THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
           THE PERIOD FROM AUGUST 1, 2019 THROUGH AUGUST 31, 2019

Name of Applicant:                                           Sills Cummis & Gross P.C.

Authorized to provide professional services to:              Official Committee of Unsecured Creditors

Date of Retention:                                           September 5, 2019 nunc pro tunc to July 15, 2019
Period for which compensation
and reimbursement are sought:                                August 1, 2019 – August 31, 2019
Amount of compensation sought as actual,
reasonable, and necessary:                                   $156,700.00 (80% of $195,875.00)
Amount of expense reimbursement sought
as actual, reasonable, and necessary:                        $5,141.05

This is a monthly application.




1
 The Debtors in these cases are: Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St.
Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC
Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric Anesthesia
Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III
of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C.

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                               COMPENSATION BY PROFESSIONAL
                             AUGUST 1, 2019 THROUGH AUGUST 31, 2019

    Name of Professional               Position, primary                   Hourly           Total          Total
        Individual                   department or group,                  Billing          Hours       Compensation
                                       year of obtaining                    Rate            Billed
                                       relevant license to
                                     practice, if applicable
    Andrew H. Sherman              Member, Bankruptcy                        $795            71.3             $56,683.50
                                   First Bar Admission: 1991
    Boris Mankovetskiy             Member, Bankruptcy                        $725            87.4             $63,365.00
                                   First Bar Admission: 2001
                                   Member, Bankruptcy First
    S. Jason Teele                                                           $695             3.3              $2,293.50
                                   Bar Admission: 2001
    Lucas F. Hammonds              Of Counsel, Bankruptcy                    $575            37.5             $21,562.50
                                   First Bar Admission: 2008
    Marc D. Leve                   Of Counsel, Corporate                     $550            16.2              $8,910.00
                                   First Bar Admission: 1984
                                   Associate, Bankruptcy
    Rachel E. Brennan                                                        $545            72.6             $39,567.00
                                   First Bar Admission: 2012
    Gregory A. Kopacz              Associate, Bankruptcy                     $525            25.1             $13,177.50
                                   First Bar Admission: 2010
    Total Fees at                                                                           313.4           $205,559.00
    Standard Rates
    Total Fees After
    Application of $625                                                                     313.4           $195,875.00
    Blended Rate
    Discount2




2
 As noted in the Application to Retain and Employ Sills Cummis & Gross P.C. as Attorneys for the Official
Committee of Unsecured Creditors of Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.,
Nunc Pro Tunc to July 15, 2019 [D.I, 636] (the “Retention Application”), “Sills fees (not including expenses) will
be limited to the lesser of (i) the amount of Sills’s fees at its professionals’ standard rates . . . and (ii) the amount of
Sills’ fees at a blended hourly rate of $625.” See Retention Application ¶ 16.

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                            COMPENSATION BY PROJECT CATEGORY
                            AUGUST 1, 2019 THROUGH AUGUST 31, 2019

                           Project Category                                     Total Hours             Total Fees
    Asset Disposition (102)                                                                 93.0            $62,833.00
    Business Operations (103)                                                                0.3                $217.50
    Case Administration (104)                                                               10.2              $5,966.00
    Claims Administration and Objections (105)                                               1.2                $810.00
    Employee Benefits/Pensions (106)                                                        23.2            $13,983.00
    Fee/Employment Applications (107)                                                       23.0            $13,599.00
    Fee/Employment Objections (108)                                                         14.4              $8,380.00
    Financing (109)                                                                       130.0             $86,639.00
    Litigation (Other than Avoidance Action Litigation) (110)                                3.4              $2,402.00
    Relief from Stay Proceedings (114)                                                      11.1              $7,987.50
    Travel (116) (Billed at 50%)                                                             3.6              $2,742.00
    Total Fees at Standard Rate                                                           313.4           $205,559.00

    Total Fees After Application of $625 Blended Rate                                     313.4           $195,875.00
    Discount3


                                      EXPENSE SUMMARY
                            AUGUST 1, 2019 THROUGH AUGUST 31, 2019

                                 Expense Category                       Total Expenses
                          LEXIS/Pacer                                                  $228.85
                          Local Travel (Train, Taxi)                                $1,258.23
                          Local Travel (Lodging)                                    $1,773.82
                          Meals (travel)                                               $350.95
                          Deposition Transcripts                                    $1,529.20
                          TOTAL                                                     $5,141.05



3
 As noted in its Retention Application, “Sills fees (not including expenses) will be limited to the lesser of (i) the
amount of Sills’s fees at its professionals’ standard rates . . . and (ii) the amount of Sills’ fees at a blended hourly
rate of $625.” See Retention Application ¶ 16.

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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                             Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL et
al.,1                                                          (Jointly Administered)

                          Debtors.                             Objections Due: December 17, 2019 at 4:00 p.m. ET
                                                               Hearing Date: TBD if objection filed




                SECOND APPLICATION OF SILLS CUMMIS & GROSS P.C. FOR
               ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
                 AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
               THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
               THE PERIOD FROM AUGUST 1, 2019 THROUGH AUGUST 31, 2019

                  Pursuant to sections 330 and 331 of title 11 of the United States Code (the

“Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), and the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals [D.I. 341] (the “Compensation Order”), Sills Cummis & Gross P.C. (“Sills”) files

this Second Application for Allowance of Compensation for Services Rendered and for

Reimbursement of Expenses as Counsel to the Official Committee of Unsecured Creditors for the

Period From August 1, 2019 Through August 31, 2019 (the “Application”). By the Application,

Sills seeks allowance of $156,700.00 (80% of $195,875.00) in fees for services rendered and



1
 The Debtors in these cases are: Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St.
Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC
Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric Anesthesia
Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III
of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C.

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$5,141.05 for reimbursement of actual and necessary expenses, for a total of $161,841.05 for the

period from August 1, 2019 through August 31, 2019 (the “Compensation Period”).

                                           Background

                  1.   On June 30 and July 1, 2019, each of the Debtors filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code.

                  2.   On July 15, 2019, the United States Trustee appointed the Official

Committee of Unsecured Creditors (the “Committee”) [D.I. 182].

                  3.   Sills was retained as Committee counsel pursuant to the Court’s Amended

Order Authorizing the Employment and Retention of Sills Cummis & Gross P.C. as Attorneys for

Official Committee of Unsecured Creditors of Center City Healthcare, LLC d/b/a Hahnemann

University Hospital, et al. Nunc Pro Tunc to July 15, 2019 [D.I. 650].

                              Compensation Paid and Its Source

                  4.   All services for which compensation is requested were performed for or

on behalf of the Committee. During the Compensation Period, Sills received no payment and no

promises for payment from any source other than the Debtors for services rendered or to be

rendered in any capacity whatsoever in connection with the matters covered by this Application.

There is no agreement or understanding between Sills and any other person, other than with the

members, of counsel and associates of the firm, for the sharing of compensation to be received

for services rendered in these chapter 11 cases.

                                         Fee Statements

                  5.   The fee statement for the Compensation Period is attached as Exhibit A.

To the best of Sills’ knowledge, this Application reasonably complies with sections 330 and 331

of the Bankruptcy Code, the Bankruptcy Rules, the Region 3 Operating Guidelines and

Reporting Requirements for Chapter 11 Debtors and Trustees, the Guidelines for Reviewing

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Applications for Compensation and Reimbursement for Expenses Filed Under 11 U.S.C. § 330

by Attorneys in Larger Chapter 11 Cases Effective November 1, 2013, Local Rule 2016-2,

applicable Third Circuit law, and the Compensation Order.

                                   Actual and Necessary Expenses

                  6.     Detailed information regarding the actual and necessary expenses incurred

by Sills during the Compensation Period is included in Exhibit A.

                                   Summary of Services by Project

                  7.     The services Sills rendered during the Compensation Period can be

grouped into the categories set forth below. These categories are generally described below,

with a more detailed identification of the actual services provided in the attached Exhibit A.

         A.       Asset Disposition

                  Fees: $62,833.00;     Total Hours: 93.0

         This category includes time expended by Sills in connection with all matters relating to

the disposition, and other post-petition uses of, property of the Debtors’ estates, including issues

relating to the sales of St. Christopher’s Hospital for Children and Hahnemann University

Hospital’s resident program assets. Time in this category includes time spent analyzing bids for

the Debtors’ assets; analyzing sale objections and conducting research in connection therewith;

drafting a response to MidCap IV Funding Trust’s objection to the resident program sale;

preparing for and participating in the resident program sale auction; drafting a statement in

support of the resident program sale; preparing for multiple sale hearings; and communicating

with the Debtors’ counsel, the Debtors’ financial advisor, the Committee, the Committee’s other

advisors, potential bidders and other third parties regarding such matters.

         B.       Business Operations

                  Fees: $217.50;        Total Hours: 0.3

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         This category includes time expended by Sills addressing issues relating to the operation

of the Debtors’ businesses.

         C.       Case Administration

                  Fees: $5,966.00;      Total Hours: 10.2

         This category includes time expended by Sills addressing matters related to the

administration of the Debtors’ chapter 11 cases, including time spent attending Committee

meetings, drafting updates to the Committee members, establishing a website for unsecured

creditors, updating the “critical dates” case calendar, and considering matters of general import.

         D.       Claims Administration and Objection

                  Fees: $810.00;        Total Hours: 1.2

         This category includes time expended by Sills analyzing claims asserted against the

Debtors’ estates, including administrative expense claims.

         E.       Employee Benefits/Pensions

                  Fees: $13,983.00;     Total Hours: 23.2

         This category includes time expended by Sills drafting objections to the Debtors’ motions

to approve a key employee incentive program and to obtain an interim chief financial officer.

         F.       Fee/Employment Applications

                  Fees: $13,599.00;     Total Hours: 23.0

         This category includes time expended by Sills preparing its retention application and

assisting the Committee’s other advisors with the preparation of their retention applications.

         G.       Fee/Employment Objections

                  Fees: $8,380.00;      Total Hours: 14.4

         This category includes time expended by Sills analyzing the retention applications of the



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Debtors’ proposed ordinary course professionals and preparing an objection to the Debtors’

motion to retain a chief financial officer.

         H.       Financing

                  Fees: $86,639.00;     Total Hours: 130.0

         This category includes all matters relating to debtor in possession financing and cash

collateral issues. Time in this category includes time spent reviewing the DIP motion, DIP

orders and DIP loan documents, including the DIP credit agreement and the DIP budget; drafting

an objection to the proposed DIP and conducting related research; analyzing DIP objections of

third parties; analyzing the Debtors’ cash flow projections and borrowing base issues; preparing

for and attending DIP hearings; analyzing prepetition loan documents and UCC filings;

conducting related discovery; and communicating with the Debtors’ advisors, the Committee, the

Committee’s other advisors, and the DIP lender’s counsel regarding the foregoing.

         I.       Litigation (Other than Avoidance Action Litigation)

                  Fees: $2,402.00;      Total Hours: 3.4

         This category includes time expended by Sills preparing for and attending depositions.

         J.       Relief from Stay Proceedings

                  Fees: $7,987.50;      Total Hours: 11.1

         This category includes time expended by Sills analyzing an objection to a motion seeking

stay relief and related document requests and transcripts.

         K.       Travel (Billed at 50%)

                  Fees: $2,742.00;      Total Hours: 3.6

         This category includes time expended traveling to a hearing, a deposition and an auction.

                                              Conclusion

                  8.     In accordance with the factors enumerated in Bankruptcy Code section

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330, it is respectfully submitted that the amounts requested by Sills are fair and reasonable given

(a) the complexity of these cases, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under this title. Moreover, Sills has reviewed the requirements of Local Rule 2016-2 and

believes that this Application reasonably complies with that Rule.

         WHEREFORE, Sills respectfully requests that the Court authorize that an allowance be

made to Sills for the Compensation Period with respect to the sums of $156,700.00 (80% of

$195,875.00) as compensation and $5,141.05 for reimbursement of actual and necessary

expenses, for a total of $161,841.05, and that such sums be authorized for payment and for such

additional relief as the Court deems just.

Dated: November 27, 2019                      Respectfully submitted,
Wilmington, Delaware
                                              /s/ Thomas M. Horan
                                              Thomas M. Horan (DE Bar No. 4641)
                                              FOX ROTHSCHILD LLP
                                              919 North Market Street, Suite 300
                                              Wilmington, DE 19899
                                              Telephone: 302-654-7444
                                              Facsimile: 302-6568920
                                              Email: thoran@foxrothschild.com

                                              - and -

                                              Andrew H. Sherman (pro hac vice)
                                              Boris I. Mankovetskiy (pro hac vice)
                                              SILLS CUMMIS & GROSS P.C.
                                              One Riverfront Plaza
                                              Newark, NJ 07102
                                              Telephone: 973-643-7000
                                              Facsimile: 973-643-6500
                                              Email: asherman@sillscummis.com
                                                      bmankovetskiy@sillscummis.com

                                              Counsel for the Official Committee
                                              of Unsecured Creditors



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                                 S ILLS C UMMIS & G ROSS
                                           A PROFESSIONAL CORPORATION

                                        THE LEGAL CENTER
                                      ONE RIVERFRONT PLAZA
                                    NEWARK, NEW JERSEY 07102-5400
                                            (973) 643-7000


                                                                                  Page                  1
                                                                                  Inv#           1760483
                                                                                  Date           09/30/19
                                                                                  08650118.000001 - AHS

Official Committee of Unsecured Creditors of Center City Healthcare LLC
 d/b/a Hahnemann University Hospital
c/o Tom Arnst, Committee Chair
Conifer Health Solutions
3560 Dallas Parkway
Frisco, TX 75034
                                                                                    FEI # XX-XXXXXXX


Re:   Creditors' Committee


For legal services rendered:
                                                                                  HOURS
102 - ASSET DISPOSITION
Val




08/01/19    AHS          102      Call with counsel for union re: St. Chris         0.20
                                  issues.
08/01/19    BM           102      Attend to issues regarding sale of residency      0.80
                                  program assets.
08/03/19    AHS          102      Call with counsel for resident's asset bidder     0.30
                                  re: bidding issues and questions.
08/05/19    AHS          102      Initial review of MidCap objection to             0.30
                                  residents sale.
                         102      Research and review of case law re:               1.40
                                  MidCap's assertion of liens on residents'
                                  program assets and review of case law re:
                                  same.
08/05/19    BM           102      Analysis of issues in connection with             1.20
                                  CMS's objection to residency program sale
                                  motion.
                         102      Analysis regarding filed objections to            0.90
                                  Resident Program Bid Procedures Motion.
08/05/19    GAK          102      Review omnibus motions to reject                  0.30
                                  executory contracts.
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                                       A PROFESSIONAL CORPORATION

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                                NEWARK, NEW JERSEY 07102-5400
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                     102      Review notice regarding revised auction           0.20
                              date.
08/05/19   REB       102      Research re: liens on licenses and medicare       1.20
                              provider numbers.
08/06/19   AHS       102      Review of CMS objection and case law re:          1.20
                              CMS objection to resident's program asset
                              sales.
08/06/19   BM        102      Analysis of issues regarding CMS'                 0.80
                              objection to residency program sale.
08/06/19   GAK       102      Review sale objection.                            0.30
08/06/19   REB       102      Research re: reply to MidCap's objection to       5.40
                              residents sale motion.
                     102      Draft reply to MidCap's objection to              4.30
                              residents sale motion.
08/07/19   AHS       102      Review of various bids and meet with              4.80
                              Debtors' professionals re: bids and
                              determination of highest and best bid in
                              advance of auction.
08/07/19   BM        102      Meeting with Debtors' professionals               2.70
                              regarding analysis of received bids,
                              qualification of bids and selection of
                              baseline bid for auction of residency assets.
                     102      Attend to Committee's reply to MidCap's           1.60
                              objection to the sale of the Residency
                              Program Assets.
                     102      Review and analysis of received bids for          1.20
                              residency program assets.
08/07/19   LFH       102      Analyze residency sale issues, including          0.70
                              Midcap sale objection issues.
08/07/19   REB       102      Revise reply to MidCap's objection to             3.50
                              residents sale motion.
                     102      Preparation and research for residents sale       0.90
                              hearing on 8.9.19.
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                                        (973) 643-7000


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                     102      Research re: Medicare statutes and                2.80
                              regulations in connection with Residents
                              Program Assets sale.
                     102      Review and summarize bids received in             2.50
                              connection with Residents Program Assets
                              sale for email to Committee re: same.
08/08/19   AHS       102      Prepare for and attend auction for resident's    14.10
                              program assets.
08/08/19   BM        102      Attend auction of residency assets.              14.80
08/08/19   GAK       102      Review notice regarding executory                 0.30
                              contracts.
08/08/19   REB       102      Research re: Medicare regulations                 5.10
                              regarding transferring residents and
                              provider agreements in connection with
                              HUH residents assets sale.
                     102      Research re: transferring PA hospital             1.40
                              licenses in connection with HUH residents
                              assets sale.
08/09/19   REB       102      Research re: hospital closing and provider        3.90
                              agreement issues.
08/12/19   REB       102      Research re: provider agreements/licenses         3.40
                              in connection with residents sale.
08/14/19   AHS       102      Review of letter re: new offer to purchase,       0.30
                              emails and call re: same.
08/15/19   AHS       102      Review and revise reply to MidCap                 0.80
                              objection re: resident's assets and requested
                              lien on proceeds.
                     102      Further review and analysis re: MidCap's          0.60
                              asserted lien on proceeds of resident's
                              program assets.
08/26/19   AHS       102      Calls and emails re: CMS issues for               0.20
                              upcoming resident's sale.
08/28/19   AHS       102      Emails from Committee members re: St.             0.20
                              Christopher's bidding issues.
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08/29/19   AHS       102      Call with Debtors' counsel re: St.               0.40
                              Christopher sale issues, resident's sale and
                              KEIP issues.
                     102      Review of Debtors' response to CMS               0.80
                              objection and analysis of sale issues in
                              connection with upcoming hearing.
                     102      Address issues re: statement in support of       0.30
                              sale and have same filed.
                     102      Calls and emails with Committee and              1.10
                              certain members re: KPC filing and
                              potential KPC transaction.
                     102      Review of KPC filing and calls with              0.60
                              counsel for KPC.
08/29/19   REB       102      Review debtors' reply to CMS residents           0.70
                              sale objection and draft statement in
                              support of sale.
08/30/19   AHS       102      Emails re: offer to purchase assets.             0.20
                     102      Review of issues relating to KPC offer to        0.70
                              purchase and CMS objection to resident's
                              sale.
                     102      Emails to Committee and committee                0.80
                              members re: CMS issues and issues re:
                              KPC offer.
08/30/19   BM        102      Analysis regarding reply to CMS' objection       0.80
                              to residency program assets sale.
                     102      Analysis of issues regarding KPC's filed         0.80
                              statement in connection with sale of
                              residency assets.
                     102      Analysis of filed objections to proposed         1.20
                              assumption and assignment of contracts and
                              leases in connection with STC sale.

                      TASK TOTAL 102                                           93.00       62,833.00
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103 - BUSINESS OPERATIONS
Val




08/01/19   BM        103      Analysis regarding Debtors' motion to          0.30
                              reject leases and contracts.

                      TASK TOTAL 103                                          0.30         217.50

104 - CASE ADMINISTRATION
Val




08/02/19   LFH       104      Analyze ex-officio Committee member and        0.40
                              confidentiality agreement issues.
08/05/19   GAK       104      Email local counsel regarding 341 meeting.     0.20
08/05/19   LFH       104      Prepare Committee ex-officio membership        0.80
                              agreement.
                     104      Analyze Committee administration and ex-       0.40
                              officio membership issues.
08/07/19   GAK       104      Update case calendar                           0.20
08/07/19   LFH       104      Prepare draft email to Committee regarding     1.20
                              Committee governance issues, sale issues,
                              and retention issues.
                     104      Revise draft email to Committee regarding      0.50
                              Committee governance issues, sale issues,
                              and retention issues.
                     104      Attention to Committee ex-officio              0.40
                              membership issues.
08/09/19   BM        104      Prepare an update report to the Committee.     0.50
08/09/19   GAK       104      Communications with Omni regarding             0.40
                              committee website.
                     104      Update case calendar.                          0.30
08/09/19   LFH       104      Attention to finalization of ex-officio        0.40
                              Committee membership agreement.
08/09/19   REB       104      Draft joinder to Debtors' objection to         0.30
                              Tenet/Conifer payment motion.
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08/12/19   GAK       104      Update case calendar.                          0.20
                     104      Review deposition notices in connection        0.40
                              with Tenet's motion to compel payment and
                              communications with B. Mankovetskiy
                              regarding same.
08/14/19   GAK       104      Update case calendar.                          0.30
                     104      Draft email to Committee member                0.20
                              regarding upcoming hearings and deadlines.
08/15/19   GAK       104      Attention to website for Committee             0.10
                              members.
                     104      Review hearing agenda and deposition           0.20
                              notices.
08/16/19   BM        104      Call with Tenet/Conifer regarding pending      0.50
                              motions.
08/16/19   GAK       104      Update case calendar                           0.20
08/19/19   GAK       104      Review hearing agendas and update case         0.40
                              calendar.
08/20/19   BM        104      Prepare status update to the Committee.        0.40
08/20/19   GAK       104      Update case calendar.                          0.10
08/21/19   GAK       104      Update case calendar.                          0.10
08/26/19   GAK       104      Update case calendar.                          0.10
08/27/19   GAK       104      Update case calendar.                          0.10
08/28/19   GAK       104      Update case calendar.                          0.10
08/29/19   GAK       104      Update case calendar and review upcoming       0.20
                              hearing agenda.
08/30/19   BM        104      Prepare an update report to the Committee.     0.60

                      TASK TOTAL 104                                         10.20        5,966.00
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105 - CLAIMS ADMINISTRATION AND OBJECTIONS
Val




08/12/19   BM        105      Attend to preparation for settlement            0.90
                              meeting with Tenet/Conifer, MidCap and
                              Debtors.
08/16/19   GAK       105      Review motion seeking payment of                0.30
                              administrative claim.

                      TASK TOTAL 105                                           1.20         810.00

106 - EMPLOYEE BENEFITS/PENSIONS
Val




08/01/19   AHS       106      Emails and call to Debtors' counsel re: CFO     0.50
                              issues and questions.
                     106      Email to Committee re: CFO issues and           0.30
                              draft objection.
                     106      Review and revise draft CFO objection.          0.80
08/02/19   AHS       106      Further review of CFO objection and send        0.30
                              to DE counsel for filing.
08/15/19   AHS       106      Calls and emails re: Debtors counsel re:        0.40
                              KERP issues and initial review of same.
08/15/19   BM        106      Analysis of Debtors' motion to approve          0.70
                              KEIP.
08/15/19   GAK       106      Analyze KEIP motion and supporting              0.90
                              declaration.
                     106      Prepare summary of KEIP motion for the          0.60
                              Committee members.
08/16/19   BM        106      Analysis regarding Pension Benefit Fund's       0.60
                              motion to compel payment of
                              administrative claims.
08/26/19   AHS       106      Review of information from BRG re: KEIP         0.80
                              issues.
                     106      Email to Committee re: KEIP issues.             0.40
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                     106      Emails to counsel for Debtors re: KEIP           0.20
                              issues and objection deadline.
                     106      Calls and emails with BRG re: KEIP issues.       0.30
08/26/19   GAK       106      Review BRG KEIP analysis.                        0.70
                     106      Calls with BRG regarding KEIP analysis.          0.50
                     106      Communications with A. Sherman                   0.10
                              regarding potential objection.
                     106      Draft email to committee regarding KEIP.         0.90
08/28/19   AHS       106      Calls and emails re: KEIP issues and             0.30
                              possible objection.
08/28/19   GAK       106      Research for KEIP Objection.                     2.30
08/29/19   AHS       106      Emails with BRG re: KEIP issues and              0.60
                              initial review of draft objection.
08/29/19   GAK       106      Drafting KEIP objection and research in          7.10
                              connection with same.
08/30/19   BM        106      Attend to issues regarding Committee's           1.10
                              objection to KEIP motion.
08/30/19   GAK       106      Work on KEIP Objectiobn.                         2.80

                      TASK TOTAL 106                                           23.20       13,983.00

107 - FEE/EMPLOYMENT APPLICATIONS
Val




08/02/19   AHS       107      Initial review and revisions to draft            0.40
                              retention pleadings.
08/02/19   LFH       107      Prepare retention application.                   1.80
                     107      Prepare A. Sherman retention affidavit.          2.40
                     107      Prepare Committee chair retention affidavit.     1.10
                     107      Prepare retention order.                         0.60
                     107      Analyze retention issues.                        0.80
                     107      Confer with A. Sherman and B.                    0.30
                              Mankovetskiy regarding retention issues.
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                     107      Revise retention materials.                       1.30
08/05/19   AHS       107      Review and revise retention pleadings for         0.40
                              Sills.
08/05/19   LFH       107      Revise draft BRG retention documents.             0.90
                     107      Revise Sills retention application materials.     2.10
                     107      Analyze Sills Cummis retention issues.            0.70
                     107      Review and analyze draft BRG retention            0.80
                              documents.
                     107      Analyze BRG retention issues.                     0.70
08/06/19   AHS       107      Address issues re: retention of Sills, Fox        0.30
                              and BRG.
08/06/19   LFH       107      Revise BRG retention application materials.       0.50
                     107      Review Fox Rothschild retention papers.           0.40
                     107      Revise Fox Rothschild retention papers.           0.30
                     107      Analyze Sills retention issues.                   0.40
                     107      Prepare draft correspondence to Committee         0.40
                              regarding professional retention
                              applications.
                     107      Analyze BRG retention issues.                     0.60
08/07/19   LFH       107      Analyze retention issues.                         0.60
                     107      Review revised BRG retention papers.              0.40
                     107      Confer with M. Haverkamp regarding BRG            0.20
                              retention issues.
                     107      Correspond with M. Haverkamp regarding            0.30
                              BRG retention issues.
                     107      Revise Committee professional retention           0.90
                              application materials.
08/08/19   LFH       107      Analyze Sills retention issues.                   0.40
                     107      Revise Sills retention materials.                 0.60
08/09/19   AHS       107      Revise and finalize retention application         0.60
                              and have filed.
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08/09/19   LFH       107      Revise and finalize Sills Cummis retention     0.90
                              application materials.
                     107      Coordinate with co-counsel regarding           0.30
                              retention application filing issues.
                     107      Analyze retention issues.                      0.60

                      TASK TOTAL 107                                         23.00       13,599.00

108 - FEE/EMPLOYMENT OBJECTIONS
Val




08/01/19   BM        108      Analysis and revisions of objection to         0.70
                              motion to retain new CFO.
08/01/19   LFH       108      Revise objection to CFO retention motion.      2.90
                     108      Review and analyze CFO retention motion.       0.90
                     108      Analyze CFO retention issues.                  1.40
                     108      Prepare and revise draft correspondence to     0.60
                              Committee regarding CFO retention and
                              objection issues.
                     108      Prepare objection to CFO retention motion.     3.30
                     108      Confer and correspond with A. Sherman          0.50
                              and B. Mankovetskiy regarding CFO
                              retention and objection issues.
                     108      Prepare and revise draft correspondence to     0.40
                              Debtors' counsel regarding CFO retention
                              and objection issues.
08/02/19   BM        108      Attend to Committee's objection to             0.90
                              retention of Tatum.
08/16/19   GAK       108      Review and analyze OCP Declarations and        0.70
                              summarize same for B. Mankovetskiy.
08/20/19   GAK       108      Review and summarize OCP declaration.          0.30
08/21/19   GAK       108      Review and summarize declaration of            0.30
                              disinterestedness for OCP.
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08/23/19   GAK       108      Review and summarize OCP declaration             0.40
                              and communications with B. Mankovetskiy
                              regarding same.
08/26/19   GAK       108      Review multiple OCP Declarations and             0.40
                              summarize same.
08/27/19   GAK       108      Review OCP Declarations and summarize            0.30
                              same.
08/28/19   GAK       108      Review OCP declaration and declaration of        0.40
                              PCO re: retention issues.

                      TASK TOTAL 108                                           14.40        8,380.00

109 - FINANCING
Val




08/01/19   BM        109      Analysis and revisions of draft objection to     2.40
                              DIP financing motion.
                     109      Attend to issues regarding proposed DIP          1.10
                              budget and availability under DIP credit
                              agreement.
08/01/19   REB       109      Revise DIP Objection re: comments from           6.60
                              A. Sherman and B. Mankovetskiy.
                     109      Review emails from BRG re: DIP objection         0.40
                              and budget.
                     109      Review DIP objection.                            0.70
08/02/19   AHS       109      Review and revise draft objection to DIP         2.20
                              financing and review of subsequent drafts
                              of objection.
08/02/19   BM        109      Analysis regarding filed objections to DIP       0.70
                              financing motion.
                     109      Attend to Committee objection to the entry       2.60
                              of final DIP financing order.
08/02/19   REB       109      Research re: marshaling and 506(c) in            4.80
                              connection with DIP objection.
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                     109      Revise DIP objection re: comments from          3.10
                              BRG team.
08/04/19   MDL       109      Review MidCap loan documents with               0.20
                              CCH.
08/05/19   AHS       109      Further review and revisions to DIP             1.20
                              objection and send to DE counsel for
                              review and consideration.
08/05/19   BM        109      Attend to Committee's objection to DIP          1.10
                              financing motion.
                     109      Analysis regarding MidCap's proposed            0.80
                              revised final DIP financing order.
08/05/19   MDL       109      Review MidCap loan agreements, UCC              1.80
                              filings and other documents in connection
                              with investigation.
                     109      Draft memo regarding investigation of liens     2.00
                              regarding MidCap.
08/05/19   REB       109      Review proposed final DIP order.                1.20
                     109      Review DIP Financing objections filed on        0.30
                              the docket.
                     109      Update DIP objection to include reference       0.30
                              to HSRE final DIP objection.
                     109      Revise DIP objection re: comments from T.       1.60
                              Horan.
08/06/19   AHS       109      Research and analysis of MidCap's               0.80
                              assertion on lien on resident's program
                              assets.
                     109      Address DIP discovery issues.                   0.20
                     109      Final review of DIP financing objection and     0.60
                              have filed.
08/06/19   BM        109      Call with Debtors' counsel regarding DIP        0.60
                              financing motion.
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                     109      Attend to issues regarding investigation of     1.20
                              extent, validity and priority of MidCap's
                              liens.
                     109      Analysis regarding Tenet/Conifer's motion       0.60
                              for continuance of DIP financing hearing.
                     109      Attend to revisions of draft objection to       0.90
                              entry of final DIP financing order.
                     109      Attend to issues regarding potential            0.80
                              resolution of Committee's objections to
                              final DIP financing order.
                     109      Analysis regarding Debtors' cash flow           0.70
                              projections and borrowing base issues.
08/06/19   MDL       109      Review and analyze MidCap loan                  0.90
                              documents and UCC filings.
                     109      Revise memo regarding MidCap lien               0.70
                              investigation.
08/07/19   BM        109      Analysis regarding borrower's ability to        1.10
                              hypothecate governmental licenses.
08/07/19   GAK       109      Review Tenet's motion to adjourn the DIP        0.30
                              hearing and order granting expedited
                              hearing.
08/07/19   LFH       109      Analyze DIP hearing issues.                     0.60
08/07/19   MDL       109      Internal conference with B. Mankovetskiy        0.30
                              regarding issues and questions under the
                              MidCap loan documents.
                     109      Continue reviewing and analyzing MidCap         0.50
                              loan and security documents.
                     109      Update notes and memo regarding MidCap          0.40
                              lien investigation.
08/08/19   MDL       109      Review notes, MidCap loan documents and         0.50
                              related security documents and internal
                              conferences with B. Mankovetskiy
                              regarding same.
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08/09/19   AHS       109      Call with counsel for Tenet/Conifer re: sale     0.50
                              and DIP financing issues.
                     109      Address issues re: Tenet motion and              0.40
                              Committee joinder and email to Committee
                              re: Tenet issues.
08/09/19   BM        109      Call with Tenet/Conifer regarding DIP            0.60
                              financing issues.
08/09/19   MDL       109      Continue review of MidCap loan                   1.60
                              documents.
08/13/19   BM        109      Analysis of MidCap's proposed revised            1.20
                              final DIP financing order and responses to
                              Committee's issues list.
08/13/19   REB       109      Review revised proposed final DIP order.         0.70
08/14/19   AHS       109      Review of revised final DIP order as             0.30
                              circulated by MidCap.
08/14/19   BM        109      Analysis regarding MidCap's proposed             0.80
                              revised DIP financing order.
08/14/19   MDL       109      Continue reviewing and analyzing MidCap          1.50
                              loan and security documents.
                     109      Revise memo regarding MidCap lien                1.80
                              investigation.
08/14/19   REB       109      Review revised proposed final order.             0.60
08/15/19   AHS       109      Email to Committee re: status update on          0.40
                              sale and financing issues and upcoming
                              hearing.
08/15/19   BM        109      Attend to issues in connection with              0.70
                              investigation of MidCap liens.
08/15/19   MDL       109      Internal conference with B. Mankovetskiy,        0.20
                              regarding conclusions of loan document
                              review, and memo status.
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                     109      Research issues and review documents              1.10
                              including legal research of cases relating to
                              commercial tort claims under UCC with
                              respect to scope of lien.
                     109      Review and revise memo regarding                  0.80
                              MidCap lien investigation.
                     109      Review MidCap loan documents and                  0.60
                              certain covenants, reps and provisions
                              under CSA.
08/16/19   AHS       109      Review and revise exhibit in advance of           1.60
                              DIP financing hearing and begin
                              preparation for hearing.
                     109      Review and analysis of MidCap objection.          0.60
                     109      Call with counsel for Tenet/Conifer re:           0.50
                              upcoming hearing.
                     109      Call with counsel for Debtors in advance of       0.30
                              hearing.
08/16/19   BM        109      Attend to preparation for final DIP               2.40
                              financing hearing.
                     109      Attend to issues regarding potential              1.10
                              resolution of Committee's objections to
                              proposed final DIP financing order.
08/16/19   MDL       109      Review, revise and finalize memo                  1.20
                              regarding MidCap lien investigation and e-
                              mail same to B. Mankovetskiy and A.
                              Sherman.
08/16/19   REB       109      Review MidCap DIP reply.                          0.70
                     109      Create consolidated DIP issues list chart.        1.70
                     109      Review proposed final DIP order as filed on       0.90
                              docket.
                     109      Prepare for 8/19/19 DIP hearing.                  1.30
08/17/19   AHS       109      Review of pleadings and prepare outline in        2.60
                              advance of hearing.
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08/17/19   REB       109      Update consolidated DIP issues list chart.       2.20
08/18/19   AHS       109      Further review and preparation for hearing       3.10
                              including drafting of outline and
                              preparation of handout.
08/19/19   AHS       109      Prepare for hearing on DIP financing,            2.60
                              including cross examinations of Wilen and
                              Victor and review of pleadings to prepare
                              argument.
                     109      Attend hearing re: DIP financing issues.         4.20
08/19/19   BM        109      Attend to preparation for hearing on motion      1.30
                              to approve final DIP financing order.
                     109      Appear at hearing on motion to approve           7.20
                              final DIP financing order.
                     109      Attend to preparation for continued DIP          1.20
                              financing hearing.
08/19/19   GAK       109      Review proposed final DIP order.                 0.40
08/19/19   REB       109      Review as-filed proposed final DIP order.        2.40
08/20/19   AHS       109      Prepare for and attend hearing regarding         5.60
                              DIP financing.
                     109      Meet with counsel for Debtors and MidCap         3.50
                              re: revised term of DIP financing.
08/20/19   BM        109      Appear at continued hearing on motion to         5.60
                              approve final DIP financing order.
                     109      Meetings with Debtors and MidCap                 3.30
                              regarding potential resolution of objections
                              to final DIP order.
08/21/19   AHS       109      Prepare for and attend hearing re: DIP           1.30
                              financing and follow up with Debtors re:
                              same.
08/21/19   BM        109      Appear at continued hearing on motion to         1.30
                              approve final DIP financing order.
08/22/19   LFH       109      Analyze DIP order revision issues.               0.50
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                     109      Confer with R. Brennan regarding DIP            0.30
                              order revisions.
08/22/19   MDL       109      Call to B. Mankovetskiy and review email        0.10
                              and memo regarding MidCap lien
                              investigation.
08/22/19   REB       109      Review and revise final DIP credit              7.20
                              agreement and DIP credit agreement.
08/23/19   AHS       109      Review of emails re: final form of DIP          0.50
                              order.
08/23/19   GAK       109      Review final DIP Order.                         0.20
08/23/19   REB       109      Review final DIP order.                         0.50

                      TASK TOTAL 109                                         130.00       86,639.00

110 - LITIGATION (OTHER THAN AVOIDANCE ACTION LITIGATION)
Val




08/09/19   JT        110      Internal correspondence regarding               0.60
                              Deposition schedules and objections.
08/12/19   BM        110      Attend to issues regarding depositions in       0.90
                              connection with the Tenet/Conifer and final
                              DIP financing motions.
08/16/19   BM        110      Analysis of transcript of deposition of S.      0.40
                              Victor.
08/16/19   JT        110      Appear at deposition of Scott Victor.           1.50

                      TASK TOTAL 110                                           3.40        2,402.00

114 - RELIEF FROM STAY PROCEEDINGS
Val




08/09/19   BM        114      Analysis regarding opposition to                0.80
                              Tenet/Conifer's motion for stay relief.
                     114      Analysis regarding Debtors' objection to        0.70
                              Tenet/Conifer's motion for stay relief.
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08/13/19   BM        114       Analysis of Tenet/Conifer's document             0.90
                               productions in connection with lift stay
                               motion.
                     114       Analysis regarding Tenet / Conifer's motion      0.60
                               in limine.
                     114       Review transcript of deposition of A.            0.70
                               Wilen in connection with Tenet/Conifer's
                               motion to lift stay.
08/14/19   BM        114       Attend meeting with Debtors, Tenet,              6.40
                               Conifer and MidCap regarding potential
                               resolution of pending motions.
08/15/19   BM        114       Analysis regarding Tenet/Conifer's reply in      0.70
                               support of motion for stay relief.
08/20/19   GAK       114       Review stay relief motion.                       0.30

                      TASK TOTAL 114                                            11.10        7,987.50

116 - TRAVEL
Val




08/07/19   AHS       116       Travel to Debtor's counsel to meet prior to      0.70
                               auction.(1.40)
08/08/19   AHS       116       Travel back to office after auction. (2.00)      1.00
08/16/19   JT        116       Travel to/from Philadelphia for Scott Victor     1.20
                               deposition. (2.40)
08/21/19   AHS       116       Travel from hearing to Newark. (1.40)            0.70

                      TASK TOTAL 116                                             3.60        2,742.00



                      TOTAL FEES at Standard Rates                            313.40     $205,559.00

                      TOTAL FEES at Blended Rate of $625                      313.40     $195,875.00
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TASK CODE SUMMARY
        102     Asset Disposition                                            93.00       62,833.00
        103     Business Operations                                           0.30          217.50
        104     Case Administration                                          10.20        5,966.00
        105     Claims Administration and Objections                          1.20          810.00
        106     Employee Benefits/Pensions                                   23.20       13,983.00
        107     Fee/Employment Applications                                  23.00       13,599.00
        108     Fee/Employment Objections                                    14.40        8,380.00
        109     Financing                                                   130.00       86,639.00
        110     Litigation (Other than Avoidance Action                       3.40        2,402.00
                Litigation)
        114     Relief from Stay Proceedings                                 11.10        7,987.50
        116     Travel                                                        3.60        2,742.00

                    TOTAL FEES at Standard Rates                            313.40     $205,559.00

                    TOTAL FEES at Blended Rate of $625                      313.40     $195,875.00

FEE RECAP
        AHS         Andrew H. Sherman                             $795.00     71.30      56,683.50
        BM          Boris Mankovetskiy                            $725.00     87.40      63,365.00
        JT          Jason Teele                                   $695.00      3.30       2,293.50
        LFH         Lucas F. Hammonds                             $575.00     37.50      21,562.50
        MDL         Marc D. Leve                                  $550.00     16.20       8,910.00
        REB         Rachel E. Brennan                             $545.00     72.60      39,567.00
        GAK         Gregory A. Kopacz                             $525.00     25.10      13,177.50

                    TOTAL FEES at Standard Rates                            313.40     $205,559.00

                    TOTAL FEES at Blended Rate of $625                      313.40     $195,875.00
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DISBURSEMENT DETAIL

E107
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.20
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.20
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.40
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.20
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.50
08/02/19   E107      Pacer                                                       0.30
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.90
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.30
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       3.00
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08/02/19   E107      Pacer                                                       0.30
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.20
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.20
08/02/19   E107      Pacer                                                       0.20
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.50
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.20
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       3.00
08/02/19   E107      Pacer                                                       0.20
08/02/19   E107      Pacer                                                       0.10
08/02/19   E107      Pacer                                                       0.10
08/05/19   E107      Pacer                                                       0.10
08/05/19   E107      Pacer                                                       3.00
08/05/19   E107      Pacer                                                       0.40
08/05/19   E107      Pacer                                                       0.40
08/05/19   E107      Pacer                                                       3.00
08/05/19   E107      Pacer                                                       0.90
08/05/19   E107      Pacer                                                       0.20
08/05/19   E107      Pacer                                                       0.60
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08/06/19   E107      Pacer                                                       1.70
08/06/19   E107      Pacer                                                       3.00
08/06/19   E107      Pacer                                                       0.30
08/06/19   E107      Pacer                                                       3.00
08/07/19   E107      Pacer                                                       3.00
08/07/19   E107      Pacer                                                       0.60
08/07/19   E107      Pacer                                                       0.20
08/07/19   E107      Pacer                                                       0.40
08/07/19   E107      Pacer                                                       0.50
08/07/19   E107      Pacer                                                       0.30
08/07/19   E107      Pacer                                                       3.00
08/07/19   E107      Pacer                                                       0.40
08/07/19   E107      Pacer                                                       0.10
08/07/19   E107      Pacer                                                       0.40
08/07/19   E107      Pacer                                                       3.00
08/07/19   E107      Pacer                                                       1.00
08/07/19   E107      Pacer                                                       3.00
08/07/19   E107      Pacer                                                       0.10
08/07/19   E107      Pacer                                                       0.90
08/08/19   E107      Pacer                                                       3.00
08/08/19   E107      Pacer                                                       0.30
08/08/19   E107      Pacer                                                       0.60
08/08/19   E107      Pacer                                                       0.10
08/08/19   E107      Pacer                                                       0.40
08/08/19   E107      Pacer                                                       3.00
08/08/19   E107      Pacer                                                       0.30
08/08/19   E107      Pacer                                                       0.50
08/08/19   E107      Pacer                                                       0.20
08/08/19   E107      Pacer                                                       0.90
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08/15/19   E107      Pacer                                                       3.00
08/15/19   E107      Pacer                                                       0.80
08/15/19   E107      Pacer                                                       3.00
08/15/19   E107      Pacer                                                       1.50
08/15/19   E107      Pacer                                                       0.20
08/15/19   E107      Pacer                                                       0.40
08/15/19   E107      Pacer                                                       0.20
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       1.90
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       0.90
08/16/19   E107      Pacer                                                       1.00
08/16/19   E107      Pacer                                                       1.20
08/16/19   E107      Pacer                                                       1.10
08/16/19   E107      Pacer                                                       0.90
08/16/19   E107      Pacer                                                       0.10
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       0.30
08/16/19   E107      Pacer                                                       0.40
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       0.20
08/16/19   E107      Pacer                                                       0.10
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       0.30
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       3.00
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08/16/19   E107      Pacer                                                       0.60
08/16/19   E107      Pacer                                                       3.00
08/16/19   E107      Pacer                                                       0.30
08/16/19   E107      Pacer                                                       0.70
08/16/19   E107      Pacer                                                       0.40
08/16/19   E107      Pacer                                                       0.20
08/16/19   E107      Pacer                                                       3.00
08/19/19   E107      Pacer                                                       2.30
08/19/19   E107      Pacer                                                       0.80
08/19/19   E107      Pacer                                                       3.00
08/20/19   E107      Pacer                                                       0.10
08/20/19   E107      Pacer                                                       3.00
08/20/19   E107      Pacer                                                       2.40
08/20/19   E107      Pacer                                                       2.30
08/20/19   E107      Pacer                                                       0.10
08/20/19   E107      Pacer                                                       3.00
08/20/19   E107      Pacer                                                       0.30
08/20/19   E107      Pacer                                                       0.10
08/20/19   E107      Pacer                                                       3.00
08/20/19   E107      Pacer                                                       2.30
08/20/19   E107      Pacer                                                       3.00
08/20/19   E107      Pacer                                                       2.30
08/20/19   E107      Pacer                                                       0.30
08/20/19   E107      Pacer                                                       0.20
08/20/19   E107      Pacer                                                       0.10
08/20/19   E107      Pacer                                                       3.00
08/20/19   E107      Pacer                                                       0.10
08/20/19   E107      Pacer                                                       0.10
08/20/19   E107      Pacer                                                       0.10
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08/20/19   E107      Pacer                                                                 3.00
08/20/19   E107      Pacer                                                                 0.20
08/20/19   E107      Pacer                                                                 2.30
08/20/19   E107      Pacer                                                                 2.40
08/20/19   E107      Pacer                                                                 0.10
08/20/19   E107      Pacer                                                                 3.00
08/21/19   E107      Pacer                                                                 0.10
08/21/19   E107      Pacer                                                                 0.50
08/21/19   E107      Pacer                                                                 3.00
08/21/19   E107      Pacer                                                                 0.10
08/21/19   E107      Pacer                                                                 3.00
08/21/19   E107      Pacer                                                                 0.10
08/21/19   E107      Pacer                                                                 3.00
08/23/19   E107      Pacer                                                                 3.00
08/29/19   E107      Lexis                                                                 2.07
08/29/19   E107      Lexis                                                                13.78
08/29/19   E107      Pacer                                                                 2.20
08/30/19   E107      Pacer                                                                 0.10
08/30/19   E107      Pacer                                                                 3.00
08/30/19   E107      Pacer                                                                 0.40
08/30/19   E107      Pacer                                                                 0.20
08/30/19   E107      Pacer                                                                 1.30

E109
08/07/19   E109      Local travel (taxi)                                                  24.43
08/07/19   E109      Local travel (train 2 one-way to Philadelphia)                      120.00
08/08/19   E109      Local travel (taxi from Philadelphia - no trains)                   149.07
08/13/19   E109      Local travel (train to/from Philadelphia)                           211.00
08/13/19   E109      Local travel (taxi)                                                   9.15
08/14/19   E109      Local travel (taxi)                                                  12.19
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08/14/19   E109      Local travel (taxi)                                                  8.60
08/14/19   E109      Local travel (train to Philadelphia)                                60.00
08/14/19   E109      Local travel (train from Philadelphia)                              51.00
08/14/19   E109      Local travel (train to/from Philadelphia)                           87.00
08/15/19   E109      Local travel (taxi)                                                138.00
08/15/19   E109      Local travel (taxi)                                                 17.00
08/16/19   E109      Local travel (taxi)                                                 12.00
08/16/19   E109      Local travel (taxi)                                                 16.00
08/19/19   E109      Local travel (taxi)                                                  6.50
08/19/19   E109      Local travel (taxi)                                                 38.78
08/19/19   E109      Local travel (train - 2 one-way to Wilmington)                     156.00
08/21/19   E109      Local travel (train - 2 one-way from Wilmington)                   135.00
08/21/19   E109      Local travel (taxi)                                                  6.51

E110
08/07/19   E110      Local travel (lodging)                                             307.21
08/07/19   E110      Local travel (lodging)                                             307.21
08/19/19   E110      Local travel (lodging)                                             279.40
08/19/19   E110      Local travel (lodging)                                             279.40
08/20/19   E110      Local travel (lodging)                                             300.30
08/20/19   E110      Local travel (lodging)                                             300.30

E111
08/13/19   E111      Meals (travel)                                                      13.63
08/19/19   E111      Meals (travel)                                                       5.70
08/19/19   E111      Meals (travel)                                                       6.98
08/19/19   E111      Meals (travel)                                                     144.50
08/20/19   E111      Meals (travel)                                                     132.50
08/21/19   E111      Meals (travel)                                                      47.64
               Case
               Case19-11466-MFW  Doc1069-1
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                             S ILLS C UMMIS & G ROSS
                                        A PROFESSIONAL CORPORATION

                                     THE LEGAL CENTER
                                   ONE RIVERFRONT PLAZA
                                 NEWARK, NEW JERSEY 07102-5400
                                         (973) 643-7000


                                                                                    Page                 27
                                                                                    Inv#           1760483
                                                                                    Date           09/30/19
                                                                                    08650118.000001 - AHS


E115
08/21/19    E115         Deposition Transcripts (A. Wilen – 8/3/19)                                   1,073.25
08/28/19    E115         Deposition Transcripts (J.S. Victor – 8/16/19)                                 455.95
                     TOTAL DISBURSEMENTS                                                             $5,141.05

DISBURSEMENT RECAP
        Code   Description                                                       Units                   Total
        E107   Lexis                                                            165.00                  228.85
        E109   Local travel (train, taxi)                                        19.00                1,258.23
        E110   Local travel (lodging)                                             6.00                1,773.82
        E111   Meals (travel)                                                     6.00                  350.95
        E115   Deposition Transcripts                                             2.00                1,529.20
                     TOTAL DISBURSEMENTS                                                             $5,141.05

                     TOTAL THIS INVOICE                                                           $201,016.05*




                                                   *Total includes fees at Blended Rate. Per Retention
                                                   Application, lesser of fees at Standard Rates ($205,559.00)
                                                   and fees at Blended Rate of $625 ($195,875.00) apply.
             Case
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1
                                                               Objections Due: December 17, 2019 at 4:00 p.m. ET
                                    Debtors.

NOTICE OF SECOND MONTHLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
 FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND FOR
REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL COMMITTEE
             OF UNSECURED CREDITORS FOR THE PERIOD
              AUGUST 1, 2019 THROUGH AUGUST 31, 2019

         PLEASE TAKE NOTICE THAT on November 27, 2019, Sills Cummis & Gross P.C.

(“Sills”), as counsel to the Official Committee of Unsecured Creditors (the “Committee”) of the

above-captioned debtors and debtors-in-possession (the “Debtors”), filed the Second Monthly Fee

Application of Sills Cummis & Gross P.C. for Allowance of Compensation for Services Rendered

and for Reimbursement of Expenses as Counsel to the Official Committee of Unsecured Creditors

for the Period August 1, 2019 through August 31, 2019 (the “Application”).

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered

August 2, 2019 [D.I. 341] (the “Interim Compensation Order”), objections, if any, to the

Application must be filed with the Clerk of the United States Bankruptcy Court for the District of



1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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           Case
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Delaware, 824 North Market Street, Wilmington, DE 19801, and be served so as to be received by

the following parties by no later than December 17, 2019 at 4:00 p.m. (prevailing Eastern time),

(the “Objection Deadline”): (a) the Debtors, Center City Healthcare, LLC, 230 North Broad Street,

Philadelphia, PA 19102 (Attn: Allen Wilen, CRO); (b) Counsel to the Debtors, Saul Ewing

Arnstein & Lehr LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801 (Attn: Mark

Minuti, Esq. and Monique B. DiSabatino, Esq.) and 1500 Market Street, 38th Floor, Philadelphia,

PA 19102 (Attn: Jeffrey Hampton, Esq. and Adam H. Isenberg, Esq.); (c) Counsel to the

Committee, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza, Newark, NJ

07102 (Attn: Andrew H. Sherman, Esq. and Boris I. Mankovertskiy, Esq.) and Fox Rothschild

LLP, 919 N. Market Street, Suite 300, Wilmington, DE 19899-2323 (Attn: Thomas M. Horan);

(d) the Office of the United States Trustee, District of Delaware, 844 N. King Street, Suite 2207,

Lockbox 35, Wilmington, DE 19801 (Attn: Benjamin A. Hackman, Esq.); and (e) Counsel to the

DIP Agent, Stradley, Ronon, Stevens, & Young, LLP, 2005 Market Street, Suite 2600,

Philadelphia, PA 19103 (Attn: Gretchen M. Santamour, Esq.) and 1000 N. West Street, Suite 1279,

Wilmington, DE 19801 (Attn: Joelle E. Polesky, Esq.).

       PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Interim Compensation

Order, upon expiration of the Objection Deadline, if a Notice of Objection has not been served

with respect to the Application, Sills may file a certificate of no objection (a “CNO”) with the

Court with respect to the unopposed portion of the fees and expenses requested in its Monthly

Fee Application. After a CNO is filed, the Debtors are authorized and directed to pay Sills an

amount the “Actual Monthly Payment”) equal to 80 percent of the fees and 100 percent of the

expenses requested in the applicable Monthly Fee Application (the “Maximum Monthly

Payment”). If a Notice of Objection was timely filed and received and remains unresolved, the



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Debtors are authorized and directed to pay Sills an amount (the “Reduced Monthly Payment”)

equal or lessor of (i) the Maximum Monthly Payment and (ii) 80% of fees and 100% of the

expenses not subject to a Notice of Objection.



  Dated: November 27, 2019                       FOX ROTHSCHILD LLP

                                                 /s/ Thomas M. Horan
                                                 Thomas M. Horan (DE No. 4641)
                                                 919 North Market Street, Suite 300
                                                 Wilmington, DE 19899-2323
                                                 Telephone: (302) 654-7444
                                                 Facsimile: (302) 656-8920
                                                 E-mail: thoran@foxrothschild.com

                                                 Counsel to the Official Committee of
                                                 Unsecured Creditors




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1

                                    Debtors.

                                      CERTIFICATE OF SERVICE

         I, Thomas M. Horan, hereby certify that on November 27, 2019, a true and correct copy of

the Second Monthly Application of Sills Cummis & Gross P.C. for Allowance of Compensation for

Services Rendered and for Reimbursement of Expense as Counsel to the Official Committee of

Unsecured Creditors for the Period August 1, 2019 through August 31, 2019 was served by First

Class Mail to the parties on the attached service list.



    Dated: November 27, 2019                             /s/ Thomas M. Horan
                                                         Thomas M. Horan (DE No. 4641)




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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                                        Service List

Center City Healthcare, LLC                    Saul Ewing Arnstein & Lehr LLP
Attn: Allen Wilen, CRO                         Attn: Mark Minuti, Esq. and Monique B.
230 North Broad Street                         DiSabatino, Esq.
Philadelphia, PA 19102                         1201 North Market Street
                                               Suite 2300
                                               Wilmington, DE 19801

Saul Ewing Arnstein & Lehr LLP                 The Office of the United States Trustee
Attn: Jeffrey Hampton, Esq. and Adam H.        Attn: Benjamin A. Hackman, Esq.
Isenberg, Esq.                                 844 N. King Street, Suite 2207
1500 Market Street                             Lockbox #35
38th Floor                                     Wilmington, DE 19801
Philadelphia, PA 19102

Stradley, Ronon, Stevens & Young, LLP          Stradley, Ronon, Stevens & Young, LLP
Attn: Gretchen M. Santamour, Esq.              Attn: Joelle E. Polesky, Esq.
2005 Market Street                             1000 N. West Street
Suite 2600                                     Suite 1279
Philadelphia, PA 19103                         Wilmington, DE 19801
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                                 EXHIBIT G

                     THIRD MONTHLY FEE APPLICATION




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                             Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL et
al.,1                                                          (Jointly Administered)

                          Debtors.                             Objections Due: December 17, 2019 at 4:00 p.m. ET
                                                               Hearing Date: TBD if objection filed




        THIRD MONTHLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
        FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
           AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
          THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
      THE PERIOD FROM SEPTEMBER 1, 2019 THROUGH SEPTEMBER 30, 2019

Name of Applicant:                                         Sills Cummis & Gross P.C.

Authorized to provide professional services to:            Official Committee of Unsecured Creditors

Date of Retention:                                         September 5, 2019 nunc pro tunc to July 15, 2019
Period for which compensation
and reimbursement are sought:                              September 1, 2019 – September 30, 2019
Amount of compensation sought as actual,
reasonable, and necessary:                                 $119,450.00 (80% of $149,312.50)
Amount of expense reimbursement sought
as actual, reasonable, and necessary:                      $315.83

This is a monthly application.




1
 The Debtors in these cases are: Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St.
Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC
Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric Anesthesia
Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III
of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C.



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                           COMPENSATION BY PROFESSIONAL
                      SEPTEMBER 1, 2019 THROUGH SEPTEMBER 30, 2019

    Name of Professional               Position, primary                   Hourly           Total          Total
        Individual                   department or group,                  Billing          Hours       Compensation
                                       year of obtaining                    Rate            Billed
                                       relevant license to
                                     practice, if applicable
    Andrew H. Sherman              Member, Bankruptcy                        $795            61.8             $49,131.00
                                   First Bar Admission: 1991
    Boris Mankovetskiy             Member, Bankruptcy                        $725           113.9             $82,577.50
                                   First Bar Admission: 2001
                                   Associate, Bankruptcy
    Rachel E. Brennan                                                        $545            48.8             $26,596.00
                                   First Bar Admission: 2012
    Gregory A. Kopacz              Associate, Bankruptcy                     $525            14.4              $7,560.00
                                   First Bar Admission: 2010
    Total Fees at                                                                           238.9           $165,864.50
    Standard Rates
    Total Fees After
    Application of $625                                                                     238.9           $149,312.50
    Blended Rate
    Discount2




2
 As noted in the Application to Retain and Employ Sills Cummis & Gross P.C. as Attorneys for the Official
Committee of Unsecured Creditors of Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.,
Nunc Pro Tunc to July 15, 2019 [D.I, 636] (the “Retention Application”), “Sills fees (not including expenses) will
be limited to the lesser of (i) the amount of Sills’s fees at its professionals’ standard rates . . . and (ii) the amount of
Sills’ fees at a blended hourly rate of $625.” See Retention Application ¶ 16.
                                                              2

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                         COMPENSATION BY PROJECT CATEGORY
                      SEPTEMBER 1, 2019 THROUGH SEPTEMBER 30, 2019

                           Project Category                                     Total Hours             Total Fees
    Asset Disposition (102)                                                               152.6           $110,857.00
    Business Operations (103)                                                                0.4                $290.00
    Case Administration (104)                                                               18.4            $11,068.00
    Claims Administration and Objections (105)                                              10.4              $7,540.00
    Employee Benefits/Pensions (106)                                                         3.2              $2,220.00
    Fee/Employment Applications (107)                                                        0.4                $210.00
    Fee/Employment Objections (108)                                                          0.4                $210.00
    Financing (109)                                                                          1.3              $1,033.50
    Litigation (Other than Avoidance Action Litigation) (110)                               33.3            $18,148.50
    Relief from Stay Proceedings (114)                                                      10.5              $7,927.50
    Travel (116) (Billed at 50%)                                                             8.0              $6,360.00
    Total Fees at Standard Rate                                                           238.9           $165,864.50

    Total Fees After Application of $625 Blended Rate                                     238.9           $149,312.50
    Discount3


                                   EXPENSE SUMMARY
                      SEPTEMBER 1, 2019 THROUGH SEPTEMBER 30, 2019

                                 Expense Category                       Total Expenses
                          Copying4                                                        $1.80
                          Telephone                                                       $6.35
                          LEXIS/Pacer                                                  $307.68
                          TOTAL                                                        $315.83




3
  As noted in its Retention Application, “Sills fees (not including expenses) will be limited to the lesser of (i) the
amount of Sills’s fees at its professionals’ standard rates . . . and (ii) the amount of Sills’ fees at a blended hourly
rate of $625.” See Retention Application ¶ 16.
4
  In accordance with Rule 2016-2 of the Local Rules for the United States Bankruptcy Court for the District of
Delaware, Sills charged $.10 per page for copies during the compensation period.
                                                             3

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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                             Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL et
al.,1                                                          (Jointly Administered)

                          Debtors.                             Objections Due: December 17, 2019 at 4:00 p.m. ET
                                                               Hearing Date: TBD if objection filed




           THIRD APPLICATION OF SILLS CUMMIS & GROSS P.C. FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
           AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
         THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
      THE PERIOD FROM SEPTEMBER 1, 2019 THROUGH SEPTEMBER 30, 2019

                  Pursuant to sections 330 and 331 of title 11 of the United States Code (the

“Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), and the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals [D.I. 341] (the “Compensation Order”), Sills Cummis & Gross P.C. (“Sills”) files

this Third Application for Allowance of Compensation for Services Rendered and for

Reimbursement of Expenses as Counsel to the Official Committee of Unsecured Creditors for the

Period From September 1, 2019 Through September 30, 2019 (the “Application”). By the

Application, Sills seeks allowance of $119,450.00 (80% of $149,312.50) in fees for services

rendered and $315.83 for reimbursement of actual and necessary expenses, for a total of
1
 The Debtors in these cases are: Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St.
Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC
Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric Anesthesia
Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III
of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C.



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$119,765.83 for the period from September 1, 2019 through September 30, 2019 (the

“Compensation Period”), and respectfully represents as follows:

                                            Background

                  1.     On June 30 and July 1, 2019, each of the Debtors filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code.

                  2.     On July 15, 2019, the United States Trustee appointed the Official

Committee of Unsecured Creditors (the “Committee”) [D.I. 182].

                  3.     Sills was retained as Committee counsel, effective as of July 15, 2019,

pursuant to this Court’s Amended Order Authorizing the Employment and Retention of Sills

Cummis & Gross P.C. as Attorneys for Official Committee of Unsecured Creditors of Center

City Healthcare, LLC d/b/a Hahnemann University Hospital, et al. Nunc Pro Tunc to July 15,

2019, entered on September 5, 2019 [D.I. 650].

                                Compensation Paid and Its Source

                  4.     All services for which compensation is requested were performed for or

on behalf of the Committee. During the Compensation Period, Sills received no payment and no

promises for payment from any source other than the Debtors for services rendered or to be

rendered in any capacity whatsoever in connection with the matters covered by this Application.

There is no agreement or understanding between Sills and any other person, other than with the

members, of counsel and associates of the firm, for the sharing of compensation to be received

for services rendered in these chapter 11 cases.

                                           Fee Statements

                  5.     The fee statement for the Compensation Period is attached as Exhibit A.

To the best of Sills’ knowledge, this Application reasonably complies with sections 330 and 331

of the Bankruptcy Code, the Bankruptcy Rules, the Region 3 Operating Guidelines and
                                                   5

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Reporting Requirements for Chapter 11 Debtors and Trustees, the Guidelines for Reviewing

Applications for Compensation and Reimbursement for Expenses Filed Under 11 U.S.C. § 330

by Attorneys in Larger Chapter 11 Cases Effective November 1, 2013, Local Rule 2016-2,

applicable Third Circuit law, and the Compensation Order.

                                  Actual and Necessary Expenses

                  6.     Detailed information regarding the actual and necessary expenses incurred

by Sills during the Compensation Period is included in Exhibit A.

                                 Summary of Services by Project

                  7.     The services Sills rendered during the Compensation Period can be

grouped into the categories set forth below. These categories are generally described below,

with a more detailed identification of the actual services provided in the attached Exhibit A.

         A.       Asset Disposition

                  Fees: $110,857.00;   Total Hours: 152.6

         This category includes time expended by Sills in connection with all matters relating to

the disposition, and other post-petition uses of, property of the Debtors’ estates, including issues

relating to the sales of St. Christopher’s Hospital for Children (“STC”) and Hahnemann

University Hospital’s resident program assets. Time in this category includes time spent

analyzing bids for the Debtors’ assets; analyzing sale objections and addressing issues relating to

the resolution thereof; analyzing and addressing issues relating to proposed asset purchase

agreements; analyzing and revising proposed sale orders; preparing for and participating in the

STC auction; preparing for and attending multiple sale hearings; addressing issues related to the

government’s appeal of the resident program sale order, including attending a related hearing;

and communicating with the Debtors’ advisors, the Committee, the Committee’s other advisors,

potential purchasers and other third parties regarding such matters.
                                                  6

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         B.       Business Operations

                  Fees: $290.00;        Total Hours: 0.4

         This category includes time expended by Sills addressing issues relating to the operation

of the Debtors’ businesses.

         C.       Case Administration

                  Fees: $11,068.00;     Total Hours: 18.4

         This category includes time expended by Sills addressing matters related to the

administration of the Debtors’ chapter 11 cases, including time spent drafting updates to the

Committee members, responding to creditor queries, establishing a website for unsecured

creditors, updating the “critical dates” case calendar, communicating with the Committee’s other

advisors, and considering matters of general import.

         D.       Claims Administration and Objection

                  Fees: $7,540.00;      Total Hours: 10.4

         This category includes time expended by Sills analyzing claims asserted against the

Debtors’ estates, including administrative expense claims, and addressing issues in connection

with the mediation of certain such claims.

         E.       Employee Benefits/Pensions

                  Fees: $2,220.00;      Total Hours: 3.2

         This category includes time expended by Sills in connection with its objection to the

Debtors’ motion to approve a key employee incentive program and the resolution thereof.

         F.       Fee/Employment Applications

                  Fees: $210.00;        Total Hours: 0.4

         This category includes time expended by Sills preparing fee applications.


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         G.       Fee/Employment Objections

                  Fees: $210.00;        Total Hours: 0.4

         This category includes time expended by Sills analyzing the retention applications of the

Debtors’ proposed ordinary course professionals.

         H.       Financing

                  Fees: $1,033.50;      Total Hours: 1.3

         This category includes all matters relating to debtor in possession financing and cash

collateral issues, including time spent addressing issues relating to alleged prepetition liens on

the Debtors’ assets, and communicating with the Committee regarding such issues.

         I.       Litigation (Other than Avoidance Action Litigation)

                  Fees: $18,148.50;     Total Hours: 33.3

         This category includes time expended by Sills drafting a complaint in connection with

“challenge” litigation, and addressing issues related to CMS’s motion for a stay pending appeal,

including conducting associated research and drafting a joinder to the Debtors’ objection thereto.

         J.       Relief from Stay Proceedings

                  Fees: $7,927.50;      Total Hours: 10.5

         This category includes time expended by Sills addressing issues relating to Tenet

Business Services Corporation and Conifer Revenue Cycle Solutions, LLC’s motion for relief

from the automatic stay, including attending associated hearings.

         K.       Travel (Billed at 50%)

                  Fees: $6,360.00;      Total Hours: 8.0

         This category includes time expended by Sills traveling to hearings and an auction.

                                             Conclusion

                  8.     In accordance with the factors enumerated in Bankruptcy Code section
                                                  8

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330, it is respectfully submitted that the amounts requested by Sills are fair and reasonable given

(a) the complexity of these cases, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under this title. Moreover, Sills has reviewed the requirements of Local Rule 2016-2 and

believes that this Application reasonably complies with that Rule.

         WHEREFORE, Sills respectfully requests that the Court authorize that an allowance be

made to Sills for the Compensation Period with respect to the sums of $119,450.00 (80% of

$149,312.50) as compensation and $315.83 for reimbursement of actual and necessary expenses,

for a total of $119,765.83, and that such sums be authorized for payment and for such additional

relief as the Court deems just.

Dated: November 27, 2019                      Respectfully submitted,
Wilmington, Delaware
                                              /s/ Thomas M. Horan
                                              Thomas M. Horan (DE Bar No. 4641)
                                              FOX ROTHSCHILD LLP
                                              919 North Market Street, Suite 300
                                              Wilmington, DE 19899
                                              Telephone: 302-654-7444
                                              Facsimile: 302-6568920
                                              Email: thoran@foxrothschild.com

                                              - and -

                                              Andrew H. Sherman (pro hac vice)
                                              Boris I. Mankovetskiy (pro hac vice)
                                              SILLS CUMMIS & GROSS P.C.
                                              One Riverfront Plaza
                                              Newark, NJ 07102
                                              Telephone: 973-643-7000
                                              Facsimile: 973-643-6500
                                              Email: asherman@sillscummis.com
                                                      bmankovetskiy@sillscummis.com

                                              Counsel for the Official Committee
                                              of Unsecured Creditors


                                                 9

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                                          VERIFICATION

STATE OF NEW JERSEY                     )
                                        ) SS:
COUNTY OF ESSEX                         )

                  Andrew H. Sherman, after being duly sworn according to law, deposes and says:

                  a)     I am an attorney at law and a Member of the law firm of Sills Cummis &

Gross P.C., located at One Riverfront Plaza, Newark, New Jersey 07102.

                  b)     I am familiar with the work performed on behalf of the Committee by the

lawyers in the firm.

                  c)     I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Local Rule 2016-2, and submit that the Application substantially complies therewith.

Dated: November 27, 2019

                                                       /s/ Andrew H. Sherman
                                                       Andrew H. Sherman




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                     Exhibit “A”
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Official Committee of Unsecured Creditors of Center City Healthcare LLC
 d/b/a Hahnemann University Hospital
c/o Tom Arnst, Committee Chair
Conifer Health Solutions
3560 Dallas Parkway
Frisco, TX 75034
                                                                                 FEI # XX-XXXXXXX
Re:   Creditors' Committee


For legal services rendered:
                                                                               HOURS
102 - ASSET DISPOSITION
Val




09/02/19    BM           102      Attend to issues regarding disposition of      0.70
                                  HUH's equipment.
                         102      Analysis of issues regarding STC financial     0.80
                                  performance and potential stalking horse
                                  bid.
09/02/19    GAK          102      Review motions to reject contracts.            0.20
                         102      Review certification regarding auction for     0.10
                                  Resident Program Assets.
                         102      Review notice of intent regarding sale of      0.10
                                  HUH and SCH.
09/03/19    BM           102      Prepare for hearing on motion sell             1.90
                                  residency program assets.
09/03/19    REB          102      Prepare for residents sale hearing by          2.90
                                  reviewing cases/regulations in connection
                                  with CMS objection.
09/04/19    AHS          102      Prepare for hearing on sale of resident's      1.40
                                  program assets.
                         102      Attend hearing on sale of resident's           6.20
                                  program assets.
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09/04/19   BM         102      Appear at hearing on motion to approve            6.20
                               sale of residency program assets.
                      102      Analysis regarding proposed residency             1.60
                               program asset purchase agreement.
                      102      Attend to revisions of proposed form of           0.70
                               order approving sale of HUH residency
                               program assets.
                      102      Analysis regarding US objection to                0.80
                               residency program sale.
                      102      Analysis regarding proposed form of order         1.10
                               approving residency program sale.
09/04/19   GAK        102      Review sale objection of the U.S.                 0.20
                               government.
09/04/19   REB        102      Review CMS objection to proposed                  0.90
                               residency sale to Jefferson.
09/05/19   AHS        102      Prepare for and attend hearing re: resident's     2.40
                               program assets, including review of form of
                               order and address issues regarding stay
                               pending appeal and appellate issues
                               regarding ruling.
09/05/19   BM         102      Appear at continued hearing on the motion         3.30
                               to approve sale of HUH residency program
                               assets.
                      102      Attend to revisions of proposed form of           1.10
                               residency assets sale order.
                      102      Analysis regarding CMS's post-hearing             0.70
                               objection to entry of sale order approving
                               residency assets sale.
                      102      Attend to proposed post-bench ruling form         1.10
                               of HUH residency assets sale order.
09/05/19   GAK        102      Review motion seeking reconsideration of          0.20
                               order granting contract rejection.
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09/05/19   REB        102      Review recent filings in connection with        1.20
                               proposed HUH asset sale, including
                               proposed sale order and APA.
09/06/19   AHS        102      Calls with counsel for Debtors and various      0.80
                               creditors re: stay pending appeal issues.
                      102      Address issues re: form of order and emails     0.40
                               re: same.
09/06/19   BM         102      Attend to proposed revisions of proposed        1.30
                               form of order approving residency program
                               sale.
                      102      Attend to issues regarding CMS's and DOH        0.70
                               objections to proposed form of HUH
                               residency sale order.
09/06/19   REB        102      Draft stipulation regarding deadline to         2.30
                               challenge certain MidCap asserted liens and
                               draft email to Committee in connection
                               therewith.
                      102      Review revised proposed HUH sale order.         0.40
09/08/19   BM         102      Attend to issues regarding potential            1.30
                               resolution of objections to form of
                               residency sale order.
09/09/19   BM         102      Attend to issues regarding disposition of       0.80
                               remaining assets of HUH.
                      102      Analysis of revisions based on status           0.60
                               conference regarding form of residency sale
                               order.
                      102      Appear at telephonic hearing on form            1.10
                               residency sale order.
09/09/19   GAK        102      Review sale objection of U.S. Government.       0.20
09/11/19   BM         102      Attend to issues regarding STC sale             0.90
                               process.
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                     102      Analysis regarding filed objections to          0.70
                              potential assumption and assignment of
                              contracts in connection with STC sale.
09/12/19   AHS       102      Review and analysis of pleading filed by        1.20
                              CMS in support of motion for a stay
                              pending appeal and address response
                              thereto.
                     102      Emails to Committee re: request for stay        0.40
                              pending appeal and call from Committee
                              member re: same.
09/12/19   BM        102      Analysis regarding US' appeal and motion        1.40
                              for stay pending appeal of HUH residency
                              assets sale order.
                     102      Attend to issues regarding STC sale             0.70
                              process.
09/13/19   AHS       102      Review and revise statement in support of       1.10
                              opposition to stay pending appeal and calls
                              re: same.
09/13/19   BM        102      Analysis regarding brief in opposition to       1.30
                              the United States' emergency motion for
                              stay pending appeal of HUH residency
                              assets sale order.
                     102      Analysis regarding filed objections and         1.20
                              statements in response to motion to sell
                              STC assets.
                     102      Attend to the Committee's joinder to the        1.10
                              Debtors' opposition to CMS’s stay motion.
                     102      Attend to issues regarding STC sale             0.80
                              process.
09/14/19   AHS       102      Call with Debtors' counsel re: auction          0.50
                              issues and extending bid deadline and
                              emails from counsel for KPC re: bid
                              deadline issues.
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09/14/19   BM        102      Analysis regarding Jefferson's opposition to      0.60
                              US motion for stay pending appeal.
09/16/19   AHS       102      Prepare for hearing re: CMS motion to stay        0.50
                              appeal.
                     102      Email to Committee re: stay pending appeal        0.20
                              issues.
                     102      Attend hearing re: CMS motion to stay             1.60
                              appeal and follow up re: same.
09/16/19   BM        102      Attend to Committee's statement in support        0.40
                              of the Debtors' opposition to the United
                              States' emergency stay motion filed in the
                              Third Circuit.
                     102      Analysis of issues and next steps in light of     0.70
                              District Court's stay of order approving
                              residency assets sale pending appeal.
                     102      Analysis regarding CMS' notice of filing an       1.10
                              emergency motion for temporary
                              administrative stay in the Third Circuit and
                              reply in support of its motion for stay
                              pending appeal.
                     102      Analysis regarding response in opposition         0.70
                              to emergency motion for temporary
                              administrative stay and petition for
                              mandamus.
                     102      Attend to issues regarding STC sale process       0.80
                              and extension of bid deadline.
09/16/19   GAK       102      Review notice regarding bid deadline and          0.20
                              auction.
                     102      Emails to team regarding bid deadline and         0.20
                              auction.
09/17/19   BM        102      Attend to issues regarding STC sale               0.80
                              process.
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09/18/19   AHS       102      Calls and emails to counsel for Debtors re:      0.20
                              auction issues.
                     102      Review and analysis of bids received for St.     1.50
                              Christopher.
                     102      Calls and emails with Committee and              0.40
                              members re: St. Christopher bidding issues.
                     102      Review of letter for purchase of                 0.30
                              Hahnemann and email to Committee re:
                              same.
09/18/19   BM        102      Prepare correspondence to Committee              0.40
                              regarding received bids for STC.
                     102      Call with BRG regarding STC bids and             0.40
                              auction issues.
                     102      Attend to issues regarding STC sale              0.90
                              process.
                     102      Analysis of received bids for STC assets.        2.30
                     102      Attend to preparation for the auction of         1.20
                              STC assets.
09/18/19   REB       102      Review and summarize bids for STC assets.        3.90
09/19/19   AHS       102      Attend and participate in auction for St.       13.40
                              Christopher's Hospital for Children.
09/19/19   BM        102      Attend auction in connection with sale of       13.40
                              STC assets.
                     102      Analysis of issues regarding Debtors'            0.60
                              preliminary waterfall analysis.
09/19/19   REB       102      Review revised Tower/Drexel APA.                 0.90
09/20/19   AHS       102      Attend auction/negotiation session with         11.40
                              Tower/Drexel re: terms of APA, including
                              meetings with all parties concerning
                              acquisition of St. Christopher's.
09/20/19   BM        102      Attend continued auction in connection          12.30
                              with sale of STC assets.
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                      102      Attend to revisions of proposed Tower-          2.30
                               Drexel APA and accompanying schedules.
                      102      Attend to proposed form of order approving      1.60
                               sale of STC assets to Tower-Drexel.
                      102      Analysis regarding HSRE's Front Street          0.60
                               lease.
09/20/19   REB        102      Draft post-closing cooperation language.        0.50
09/22/19   BM         102      Attend to proposed revisions of the APA in      1.30
                               connection with sale of STC assets.
                      102      Attend to revisions of proposed form of         1.10
                               order approving sale of STC's assets.
09/23/19   AHS        102      Prepare for sale hearing.                       0.40
                      102      Attend sale hearing for St. Christopher's.      3.30
09/23/19   BM         102      Analysis regarding proposed resolutions of      0.90
                               objections to approval of STC sale.
                      102      Attend to revisions of proposed form of         2.20
                               STC sale order and asset purchase
                               agreement.
                      102      Attend to preparation for hearing to            0.80
                               approve STC sale.
                      102      Appear at hearing to approve sale of STC's      3.30
                               assets.
09/23/19   GAK        102      Review status report re: stay pending           0.20
                               appeal of sale.
09/23/19   REB        102      Prepare for St. Christopher's sale hearing.     1.10
                      102      Review proposed sale order and revised          1.40
                               APA.
09/24/19   BM         102      Analysis regarding revised STC APA and          1.40
                               proposed form of sale order.
09/25/19   BM         102      Analysis regarding presentation to              0.40
                               Committee based on results of STC sale.
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                     102      Analysis regarding draft joint statement to     0.60
                              District Court regarding relief from
                              mandatory mediation and proposed
                              appellate briefing schedule with CMS.
09/27/19   BM        102      Attend to issues regarding CMS's appeal of      0.60
                              HUH residency sale order.
                     102      Analysis regarding designation of record on     0.30
                              appeal (CMS).

                     TASK TOTAL 102                                          152.60      110,857.00

103 - BUSINESS OPERATIONS
Val




09/02/19   BM        103      Attend to potential resolution of KEIP          0.40
                              issues.

                     TASK TOTAL 103                                            0.40         290.00

104 - CASE ADMINISTRATION
Val




09/02/19   GAK       104      Review notice regarding upcoming hearing        0.20
                              and update case calendar.
09/03/19   BM        104      Call with Debtors' counsel regarding            0.40
                              pending matters.
09/03/19   GAK       104      Update case calendar.                           0.20
09/04/19   GAK       104      Review hearing agenda and update case           0.30
                              calendar.
09/06/19   BM        104      Analysis regarding HSRE's complaint and         1.10
                              motion to appoint receiver against PropCos
                              and Debtors' parent.
09/06/19   GAK       104      Review hearing agenda and update case           0.20
                              calendar.
09/09/19   BM        104      Call with BRG regarding pending matters.        0.30
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09/10/19   GAK       104      Communications with Omni re: website.             0.30
                     104      Work on 1102 motion.                              0.40
09/11/19   AHS       104      Call with counsel for Debtors re: sale issues     0.40
                              and Tenet/Conifer issues.
09/11/19   BM        104      Prepare a status update for the Committee.        0.60
09/11/19   GAK       104      Review upcoming hearing agenda and                0.30
                              update case calendar.
                     104      Review stipulation regarding deadline to          0.10
                              challenge liens.
                     104      Draft information sharing procedures              5.50
                              motion.
                     104      Draft update email to the Committee               0.40
                              regarding 1102 motion.
09/12/19   BM        104      Prepare for 9/13/19 hearings.                     0.80
09/12/19   GAK       104      Respond to creditor query regarding claim         0.30
                              issues.
09/13/19   GAK       104      Review hearing agenda.                            0.10
09/16/19   GAK       104      Addressing creditor queries.                      0.50
                     104      Update case calendar.                             0.10
                     104      Email A. Sherman regarding 1102 motion.           0.10
                     104      Email Debtors' counsel regarding 1102             0.20
                              motion.
09/18/19   GAK       104      Update 1102 motion based on comments of           0.20
                              Omni.
                     104      Email local counsel regarding 1102 motion.        0.10
                     104      Emails with Debtors' counsel and Omni             0.20
                              regarding 1102 motion.
09/19/19   BM        104      Prepare an update to Committee regarding          0.40
                              STC auction.
09/19/19   GAK       104      Review upcoming hearing agenda.                   0.10
                     104      Update case calendar.                             0.60
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09/20/19   GAK       104      Update case calendar.                            0.20
                     104      Review upcoming hearing agenda and               0.20
                              emails to team regarding same.
09/23/19   GAK       104      Review hearing agenda and update case            0.40
                              calendar.
09/24/19   GAK       104      Update case calendar.                            0.20
09/25/19   BM        104      Call with BRG's regarding potential              0.50
                              waterfall scenarios.
09/26/19   BM        104      Prepare correspondence to Committee              0.40
                              regarding Tenet-Conifer mediation.
                     104      Analysis of proposed mediation agreement         0.40
                              for Tenet-Conifer mediation provided by
                              Judge Fitzgerald.
                     104      Initial call with Judge Fitzgerald regarding     0.50
                              Tenet-Conifer mediation.
                     104      Initial call with Judge Fitzgerald regarding     0.40
                              Tenet/Conifer mediation.
09/26/19   GAK       104      Update case calendar.                            0.10
09/29/19   BM        104      Follow up call with Judge Fitzgerald and         0.70
                              mediation parties regarding mediation
                              process.

                     TASK TOTAL 104                                            18.40       11,068.00

105 - CLAIMS ADMINISTRATION AND OBJECTIONS
Val




09/03/19   BM        105      Attend to issues regarding dispute of            0.80
                              MidCap's lien on proceeds of residency
                              program assets.
09/04/19   BM        105      Analysis regarding Tenet/Conifer's               0.60
                              proposed settlement term sheet.
09/06/19   BM        105      Attend to stipulation and reservation of         0.80
                              challenge rights with MidCap.
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09/10/19   BM        105      Attend to issues regarding Tenet/Conifer's       1.10
                              post-petition claims.
                     105      Analysis regarding HSRE post-petition            0.80
                              claims.
09/14/19   BM        105      Attend to proposed form of order                 0.70
                              establishing certain post-petition amounts
                              payable to Tenet-Conifer and directing
                              mediation.
09/16/19   BM        105      Attend to revisions of proposed form of          0.60
                              mediation order.
09/17/19   BM        105      Attend to issues regarding Tenet-Conifer         0.40
                              mediation.
09/18/19   BM        105      Attend to issues regarding Tenet-Conifer         1.10
                              mediation.
09/25/19   BM        105      Attend to issues regarding mediation with        0.60
                              Tenet-Conifer.
09/27/19   BM        105      Analysis of documents produced by the            2.30
                              Debtors in connection with Tenet-Conifer
                              mediation.
09/29/19   BM        105      Attend to proposed mediation agreement.          0.60

                     TASK TOTAL 105                                            10.40        7,540.00

106 - EMPLOYEE BENEFITS/PENSIONS
Val




09/03/19   BM        106      Attend to issues regarding KEIP structure.       0.30
09/03/19   GAK       106      Communications with B. Mankovetskiy              0.10
                              regarding KEIP objection.
                     106      Review unsealed exhibit and motion.              0.30
09/11/19   BM        106      Attend to resolution of Committee's              0.70
                              objections to proposed KEIP.
09/17/19   BM        106      Attend to potential resolution of objections     0.40
                              to proposed KEIP.
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09/18/19   BM        106      Attend to Committee's objection to KEIP         0.50
                              motion.
09/19/19   BM        106      Attend to resolution of KEIP objections.        0.40
09/19/19   GAK       106      Communications with B. Mankovetskiy             0.10
                              regarding KEIP.
09/22/19   BM        106      Attend to revised proposed order resolving      0.40
                              Committee's objection and approving the
                              KEIP.

                     TASK TOTAL 106                                            3.20        2,220.00

107 - FEE/EMPLOYMENT APPLICATIONS
Val




09/30/19   GAK       107      Work on first fee application.                  0.40

                     TASK TOTAL 107                                            0.40         210.00

108 - FEE/EMPLOYMENT OBJECTIONS
Val




09/04/19   GAK       108      Review OCP Declarations and summarize           0.40
                              same for B. Mankovetskiy.

                     TASK TOTAL 108                                            0.40         210.00

109 - FINANCING
Val




09/06/19   AHS       109      Review of draft MidCap stipulation and          0.70
                              address lien issues, including alleged lien
                              on resident's sale assets.
                     109      Email to Committee re: MidCap issues.           0.30
09/10/19   AHS       109      Address issues re: MidCap challenge             0.30
                              stipulation.

                     TASK TOTAL 109                                            1.30        1,033.50
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                             S ILLS C UMMIS & G ROSS
                                       A PROFESSIONAL CORPORATION

                                     THE LEGAL CENTER
                                   ONE RIVERFRONT PLAZA
                                 NEWARK, NEW JERSEY 07102-5400
                                         (973) 643-7000


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110 - LITIGATION (OTHER THAN AVOIDANCE ACTION LITIGATION)
Val




09/04/19   REB        110      Draft complaint re: Midcap liens.               3.10
09/05/19   REB        110      Research and draft MidCap complaint for         5.60
                               declaratory judgment.
09/06/19   REB        110      Research re: Complaint against MidCap in        4.40
                               connection with Court's HUH sale ruling.
09/12/19   REB        110      Research issues in connection CMS motion        3.20
                               for stay pending appeal.
                      110      Review CMS filings in connection with           2.40
                               stay pending appeal and appeal of HUH
                               Sale Order.
09/13/19   REB        110      Draft Committee Joinder to Debtors'             6.40
                               opposition to CMS motion for stay pending
                               appeal.
                      110      Review and revise committee joinder re:         1.40
                               opposition to CMS motion.
09/15/19   REB        110      Read Jefferson reply to CMS stay motion.        0.70
09/16/19   REB        110      Draft joinder to Debtors' opposition to CMS     2.90
                               emergency motion filed in Third Circuit.
                      110      Review filings in District Court and Third      3.20
                               Circuit including CMS reply to Debtors,
                               Committee and Jefferson opposition to stay
                               pending appeal, CMS emergency stay
                               motion filed in Third Circuit and Debtors'
                               response in opposition to same.

                      TASK TOTAL 110                                           33.30       18,148.50
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114 - RELIEF FROM STAY PROCEEDINGS
Val




09/12/19   AHS        114       Calls with counsel for Debtors re:              0.40
                                Tenet/Conifer issues in preparation for
                                hearing.
09/12/19   BM         114       Attend to issues regarding potential            1.20
                                resolution of Tenet/Conifer's motion for
                                stay relief.
09/13/19   AHS        114       Prepare for and attend hearing/chamber's        3.40
                                conference re: Tenet/Conifer lift stay and
                                follow with counsel for Debtors after
                                hearing.
09/13/19   BM         114       Appear at hearing on Tenet-Conifer's            2.90
                                motion for stay relief.
                      114       Analysis regarding status report in             0.60
                                connection with Tenet/Conifer stay relief
                                motion.
09/15/19   AHS        114       Review of Tenet/Conifer lift stay order and     0.40
                                emails re: same.
09/16/19   BM         114       Attend telephonic hearing on CMS's motion       0.90
                                for stay pending appeal.
09/18/19   AHS        114       Address issues re: Tenet/Conifer form of        0.30
                                order and conference with Court.
09/19/19   BM         114       Attend teleconference with the Court            0.40
                                regarding form of order granting in part
                                Tenet-Conifer's motion for stay relief.

                      TASK TOTAL 114                                            10.50        7,927.50

116 – TRAVEL (50% of non-working travel billed)
Val




09/04/19   AHS        116       Travel back and forth to Delaware for           1.50
                                resident's program sale hearing. (3.00)
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09/05/19   AHS        116       Travel to and from Delaware re: hearing on      1.50
                                ruling regarding resident's program. (3.00)
09/13/19   AHS        116       Travel to and from Delaware re: hearing on      1.50
                                Tenet/Conifer lift stay. (3.00)
09/19/19   AHS        116       Travel to auction for St. Christopher's         1.00
                                Children's Hospital. (2.00)
09/20/19   AHS        116       Travel back from auction/session re: APA.       1.00
                                (2.00)
09/23/19   AHS        116       Travel to and from St. Christopher's sale       1.50
                                hearing. (3.00)

                      TASK TOTAL 116                                             8.00        6,360.00



                      TOTAL FEES at Standard Rates                            238.90     $165,864.50

                      TOTAL FEES at Blended Rate of $625                      238.90     $149,312.50

TASK CODE SUMMARY

           102         Asset Disposition                                      152.60      110,857.00
           103         Business Operations                                      0.40          290.00
           104         Case Administration                                     18.40       11,068.00
           105         Claims Administration and Objections                    10.40        7,540.00
           106         Employee Benefits/Pensions                               3.20        2,220.00
           107         Fee/Employment Applications                              0.40          210.00
           108         Fee/Employment Objections                                0.40          210.00
           109         Financing                                                1.30        1,033.50
           110         Litigation (Other than Avoidance Action Litigation)     33.30       18,148.50
           114         Relief from Stay Proceedings                            10.50        7,927.50
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           116         Travel                                                       8.00        6,360.00

                      TOTAL FEES at Standard Rates                                238.90     $165,864.50

                      TOTAL FEES at Blended Rate of $625                          238.90     $149,312.50

FEE RECAP
        AHS           Andrew H. Sherman                                 $795.00     61.80      49,131.00
        BM            Boris Mankovetskiy                                $725.00    113.90      82,577.50
        REB           Rachel E. Brennan                                 $545.00     48.80      26,596.00
        GAK           Gregory A. Kopacz                                 $525.00     14.40       7,560.00

                      TOTAL FEES at Standard Rates                                238.90     $165,864.50

                      TOTAL FEES at Blended Rate of $625                          238.90     $149,312.50

DISBURSEMENT DETAIL

E101
07/22/19    E101          Copying                                                                   0.50
08/26/19    E101          Copying                                                                   1.00
08/26/19    E101          Copying                                                                   0.20
08/27/19    E101          Copying                                                                   0.10

E105
07/24/49    E105          Telephone                                                                 4.38
08/08/19    E105          Telephone                                                                 1.97

E107
09/03/19    E107          Pacer                                                                     0.10
09/03/19    E107          Pacer                                                                     3.00
09/03/19    E107          Pacer                                                                     0.50
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09/03/19   E107       Pacer                                                       0.90
09/03/19   E107       Pacer                                                       0.30
09/03/19   E107       Pacer                                                       0.80
09/03/19   E107       Pacer                                                       2.00
09/03/19   E107       Pacer                                                       0.30
09/03/19   E107       Pacer                                                       0.30
09/03/19   E107       Pacer                                                       0.30
09/03/19   E107       Pacer                                                       0.30
09/03/19   E107       Pacer                                                       0.60
09/03/19   E107       Pacer                                                       0.40
09/03/19   E107       Pacer                                                       0.30
09/03/19   E107       Pacer                                                       2.20
09/03/19   E107       Pacer                                                       0.30
09/03/19   E107       Pacer                                                       0.20
09/03/19   E107       Pacer                                                       3.00
09/03/19   E107       Lexis                                                      62.12
09/05/19   E107       Lexis                                                      20.70
09/05/19   E107       Pacer                                                       3.00
09/05/19   E107       Pacer                                                       0.50
09/05/19   E107       Pacer                                                       3.00
09/05/19   E107       Pacer                                                       0.10
09/05/19   E107       Pacer                                                       3.00
09/05/19   E107       Pacer                                                       0.10
09/05/19   E107       Pacer                                                       3.00
09/05/19   E107       Pacer                                                       0.30
09/05/19   E107       Pacer                                                       3.00
09/06/19   E107       Pacer                                                       0.10
09/06/19   E107       Pacer                                                       3.00
09/06/19   E107       Pacer                                                       0.10
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09/06/19   E107       Pacer                                                                           3.00
09/06/19   E107       Lexis                                                                          93.18
09/13/19   E107       Lexis                                                                          93.18
09/16/19   E107       Pacer                                                                           0.10
09/16/19   E107       Pacer                                                                           0.10
09/16/19   E107       Pacer                                                                           0.30
                  TOTAL DISBURSEMENTS                                                             $315.83

DISBURSEMENT RECAP
        Code   Description                                                  Units                   Total
        E101   Copying                                                      18.00                    1.80
        E105   Telephone                                                     2.00                    6.35
        E107   Lexis                                                        38.00                  307.68
                  TOTAL DISBURSEMENTS                                                             $315.83

                  TOTAL THIS INVOICE                                                         $149,628.33*



                                              *Total includes fees at Blended Rate. Per Retention
                                              Application, lesser of fees at Standard Rates ($165,864.50)
                                              and fees at Blended Rate of $625 ($149,312.50) apply.
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1
                                                               Objections Due: December 17, 2019 at 4:00 p.m. ET
                                    Debtors.

NOTICE OF THIRD MONTHLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
 FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND FOR
REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL COMMITTEE
             OF UNSECURED CREDITORS FOR THE PERIOD
           SEPTEMBER 1, 2019 THROUGH SEPTEMBER 30, 2019

         PLEASE TAKE NOTICE THAT on November 27, 2019, Sills Cummis & Gross P.C.

(“Sills”), as counsel to the Official Committee of Unsecured Creditors (the “Committee”) of the

above-captioned debtors and debtors-in-possession (the “Debtors”), filed the Third Monthly Fee

Application of Sills Cummis & Gross P.C. for Allowance of Compensation for Services Rendered

and for Reimbursement of Expenses as Counsel to the Official Committee of Unsecured Creditors

for the Period September 1, 2019 through September 30, 2019 (the “Application”).

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered

August 2, 2019 [D.I. 341] (the “Interim Compensation Order”), objections, if any, to the

Application must be filed with the Clerk of the United States Bankruptcy Court for the District of



1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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Delaware, 824 North Market Street, Wilmington, DE 19801, and be served so as to be received by

the following parties by no later than December 17, 2019 at 4:00 p.m. (prevailing Eastern time),

(the “Objection Deadline”): (a) the Debtors, Center City Healthcare, LLC, 230 North Broad Street,

Philadelphia, PA 19102 (Attn: Allen Wilen, CRO); (b) Counsel to the Debtors, Saul Ewing

Arnstein & Lehr LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801 (Attn: Mark

Minuti, Esq. and Monique B. DiSabatino, Esq.) and 1500 Market Street, 38th Floor, Philadelphia,

PA 19102 (Attn: Jeffrey Hampton, Esq. and Adam H. Isenberg, Esq.); (c) Counsel to the

Committee, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza, Newark, NJ

07102 (Attn: Andrew H. Sherman, Esq. and Boris I. Mankovertskiy, Esq.) and Fox Rothschild

LLP, 919 N. Market Street, Suite 300, Wilmington, DE 19899-2323 (Attn: Thomas M. Horan);

(d) the Office of the United States Trustee, District of Delaware, 844 N. King Street, Suite 2207,

Lockbox 35, Wilmington, DE 19801 (Attn: Benjamin A. Hackman, Esq.); and (e) Counsel to the

DIP Agent, Stradley, Ronon, Stevens, & Young, LLP, 2005 Market Street, Suite 2600,

Philadelphia, PA 19103 (Attn: Gretchen M. Santamour, Esq.) and 1000 N. West Street, Suite 1279,

Wilmington, DE 19801 (Attn: Joelle E. Polesky, Esq.).

       PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Interim Compensation

Order, upon expiration of the Objection Deadline, if a Notice of Objection has not been served

with respect to the Application, Sills may file a certificate of no objection (a “CNO”) with the

Court with respect to the unopposed portion of the fees and expenses requested in its Monthly

Fee Application. After a CNO is filed, the Debtors are authorized and directed to pay Sills an

amount the “Actual Monthly Payment”) equal to 80 percent of the fees and 100 percent of the

expenses requested in the applicable Monthly Fee Application (the “Maximum Monthly

Payment”). If a Notice of Objection was timely filed and received and remains unresolved, the



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Debtors are authorized and directed to pay Sills an amount (the “Reduced Monthly Payment”)

equal or lessor of (i) the Maximum Monthly Payment and (ii) 80% of fees and 100% of the

expenses not subject to a Notice of Objection.



  Dated: November 27, 2019                       FOX ROTHSCHILD LLP

                                                 /s/ Thomas M. Horan
                                                 Thomas M. Horan (DE No. 4641)
                                                 919 North Market Street, Suite 300
                                                 Wilmington, DE 19899-2323
                                                 Telephone: (302) 654-7444
                                                 Facsimile: (302) 656-8920
                                                 E-mail: thoran@foxrothschild.com

                                                 Counsel to the Official Committee of
                                                 Unsecured Creditors




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1

                                    Debtors.

                                      CERTIFICATE OF SERVICE

         I, Thomas M. Horan, hereby certify that on November 27, 2019, a true and correct copy of

the Third Monthly Application of Sills Cummis & Gross P.C. for Allowance of Compensation for

Services Rendered and for Reimbursement of Expense as Counsel to the Official Committee of

Unsecured Creditors for the Period September 1, 2019 through September 30, 2019 was served

by First Class Mail to the parties on the attached service list.



    Dated: November 27, 2019                             /s/ Thomas M. Horan
                                                         Thomas M. Horan (DE No. 4641)




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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                                        Service List

Center City Healthcare, LLC                    Saul Ewing Arnstein & Lehr LLP
Attn: Allen Wilen, CRO                         Attn: Mark Minuti, Esq. and Monique B.
230 North Broad Street                         DiSabatino, Esq.
Philadelphia, PA 19102                         1201 North Market Street
                                               Suite 2300
                                               Wilmington, DE 19801

Saul Ewing Arnstein & Lehr LLP                 The Office of the United States Trustee
Attn: Jeffrey Hampton, Esq. and Adam H.        Attn: Benjamin A. Hackman, Esq.
Isenberg, Esq.                                 844 N. King Street, Suite 2207
1500 Market Street                             Lockbox #35
38th Floor                                     Wilmington, DE 19801
Philadelphia, PA 19102

Stradley, Ronon, Stevens & Young, LLP          Stradley, Ronon, Stevens & Young, LLP
Attn: Gretchen M. Santamour, Esq.              Attn: Joelle E. Polesky, Esq.
2005 Market Street                             1000 N. West Street
Suite 2600                                     Suite 1279
Philadelphia, PA 19103                         Wilmington, DE 19801
